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                              EXHIBIT LL


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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        THE COMING CONSTITUTIONAL CRISIS
                                IN BAIL: I *
                                CALEB FOOTE t

        One striking manifestation of the resurgence of concern for the
  administration of criminal justice which characterizes the present
  decade is the attack upon the inadequacies and unfairness of the bail
  system as it affects indigent defendants. Unlike other areas of ferment
  in criminal law administration, this changing attitude toward bail is
  the only major reform of recent decades in which the courts have
  played a wholly passive role. With search and seizure and indigents'
  right to counsel the Supreme Court has warned, cajoled and, finally
  becoming impatient with the snail-like pace of reform, forced major
  change down the throats of the states by way of the fourteenth amend-
  ment.' The Court's initiative in these areas has precipitated a storm
  of controversy and created constitutional crises both in police operations
  and in the court practices of those states which had previously failed to
  make provision for assigning counsel to indigents in all cases.
        Strangely enough, however, the courts have remained almost en-
  tirely silent in the face of mounting documentation of the discriminatory
  effect upon indigents of the bail bond system's requirement of financial
  security for pretrial release. The studies which have been made in the
      • This is part I of a two-part article. Part II will appear in the June issue.
      t Professor of Law, University of Pennsylvania. A.B. 1939, Harvard University,
  M.A. 1941, Columbia University, LL.B. 1953, University of Pennsylvania. Member,
  Pennsylvania Bar.
      1 Gideon v. Wainwright, 372 U.S. 335 (1963); Mapp v. Ohio, 367 U.S. 643
  (1961).

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    last decade 2 have established three things which, when they finally find
    their way into the grist of litigation, seem bound to pose most serious
    constitutional questions.
          First, it has been established that pretrial imprisonment of the
    poor solely as a result of their poverty, under harsher conditions than
    those applied to convicted prisoners, so pervades our system that for a
    majority of defendants accused of anything more serious than petty
    crimes, the bail system operates effectively to deny rather than to facili-
    tate liberty pending trial.8
          Second, it is also apparent that but for their poverty a substantial
    proportion of these jailed indigent defendants would never suffer any
    imprisonment because, after serving their pretrial jail term, they are
    either not convicted ' or the disposition of their cases does not include
    imprisonment.5
          Third, there is an extraordinary correlation between pretrial status
     (jail or bail) and the severity of the sentence after conviction, the
    jailed defendant being two or three times more likely to receive a
    prison sentence.' The last finding raises difficult problems of evalua-
    tion, for some other variable may be an important factor in causing
    both the pretrial jail status and the more severe sentence, although the
    most recent study shows that the ratio holds constant even when some
    of the more obvious variables are controlled.'
          These findings as a whole reveal a shocking discrepancy which
    disadvantages the poor in our administration of criminal justice. It is
    probable, moreover, that the evidence summarized above does not reveal
    the full extent of the discrimination. For example, there has been no
    adequate investigation of the mechanics of the guilty plea, although we
         2Foote, Markle & Wooley, Compelling Appearance in Court: Administration of
    Bail in Philadelphia,102 U. PA. L. REv. 1031 (1954) [hereinafter cited as Philadelphia
    Bail Study]; Rankin, The Effect of PretrialDetention, 39 N.Y.U.L. Rxv. 641 (1964)
    [hereinafter cited as Rankin) ; Note, A Study of the Administration of Bail in New
    York City, 106 U. PA. L. REv. 693 (1958) [hereinafter cited as New York Bail
    Study]. Some of these studies and numerous other recent investigations are sum-
    marized in FREED & WALD, BAIL IN THE UNITED STATES: 1964, 9-21 (Report to the
    National Conference on Bail and Criminal Justice, 1964) [hereinafter cited as FRm
    & WALD]. For references to other published studies see id. at 112-16.
         3 See, e.g., Philadelphia Bail Study 1032-33; New York Bail Study 711-12;
    Rankin 634; FREED & WALD 15-16.
         4 E.g., Rankin 642 (27% of sample of 358 jailed defendants were not convicted);
    Philadelphia Bail Study 1052, Table 1 (depending on offense, proportion of jailed
    defendants not convicted ranged from 7% to 27%) ; New York Bail Study 726-27.
         5 Rankin 642 (9% of those tried, convicted but not sentenced to prison) ; Phila-
    delphia Bail Study 1040 (23% of those tried given suspended sentence, 9% sentenced
    to time already served) ; New York Bail Study 727 (13.5% of those sentenced given
    suspended
         6
                 sentence, 2.6o sentenced to time already served).
           Rankin 642; PhiladelphiaBail Study 1054; New York Bail Study 727.
         7
           Rankin 655.
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   know that this is the predominant means of conviction.8 While the
   statistical data in the bail studies of the possible correlation between
   pretrial jail status and increased likelihood of conviction is incomplete,
   the subtleties involved in the guilty plea will require a more searching
   analysis than can be provided by conviction rate statistics. It is
   plausible, at least, that denial of pretrial liberty provides a psychologi-
   cal inducement to plead guilty which would be absent if the defendant
   were at liberty pending trial.'
        Recent reform efforts-The first move generated by these findings
   to ameliorate the unfairness of the bail system for the poor has not
   necessitated and thus has entirely bypassed litigation of constitutional
   questions. Starting with the creation by a New York businessman of
   the Vera Foundation and its sponsorship of the Manhattan Bail Proj-
   ect, a reform movement to develop procedures for the prompt pretrial
   release without financial security of reliable but impecunious defendants
   is now spreading rapidly through the country with the endorsement of
   the Department of Justice and the support of the Ford Foundation."0
   As developed in New York, the plan provides for a brief interview with
   an indigent defendant before his preliminary hearing where probable
   reliability of the defendant in appearing for trial is estimated by the
   application of plausible (but untested) assumptions. Information is
   sought as to his prior record, residence patterns, current and recent
   employment and references, and family ties in the jurisdiction after
   which there is a quick verification of the data by telephone or from
   available official records. A defendant meeting sufficiently high stand-
   ards will be recommended to the court for release without security.
         Recently the Vera Foundation and the New York Police Depart-
   ment have launched another experimental program designed to reduce
   further the incidence of pretrial detention."1 At several precinct station
   houses in New York, law students acting as Vera investigators go to
   work as soon as those accused of disorderly conduct, simple assault,
   or petit larceny are brought in after arrest. If on the basis of quick
   investigation the accused is recommended by Vera as a good risk, the
   precinct desk officer may order release and issue a summons for the
   date and place at which the accused is to appear in criminal court.
   For minor offenses this represents a long overdue reform.
      8 See Packer, Two Models of the Criminal Process, 113 U. PA. L. Rsv. 1, 46-47
   (1964) ; Note, Guilty Plea Bargaining: Compromises by Prosecutors To Secure
   Guilty Pleas, 112 U. PA. L. REv. 865-66 & n.4 (1964).
       9 See Packer, supra note 8, at 39-40.
        ' FREED & WALD 59-64, and references cited id. at 114-15. For a description of
   other reform efforts in recent years, see id. at 64-83.
      "FREED   & WALD 72-73.
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         Admirable as these developments are, however, they provide no
   cure-all for indigent bail problems. Even in a jurisdiction with an
   extensive project a substantial proportion of urban indigent defendants
   would not meet the standards of reliability which have so far been
   applied and would not obtain a recommendation of release. Further,
   a proportion of those recommended would not be released, the number
   depending upon the extent of judicial sympathy and cooperation with
   the plan. Political considerations may additionally limit the plan's
   operation, for example, the Manhattan Bail Project's exclusion of past
   or current narcotics and sex offenders and those currently charged
   with assault against police officers. But a more important limiting
   factor is the necessity of obtaining popular approval for the establish-
   ment of the plan in each community, and, as even the Ford Founda-
   tion's resources are not inexhaustible, of securing continuing financial
   support through local appropriations. While one would hope that our
   administration of criminal justice will one day be able to accomplish
   a major reform in the interest of fairness to the defendant without
   having to be coerced by the Supreme Court,"2 prior experience gives
   no indication that such a day is at hand. The sluggishness of the
   states in responding to the indigent counsel problem is not encouraging.
   Despite decades of judicial prodding and reform effort, in 1963 there
   were still "nearly 40 counties with populations of 400,000 or more
   which have no organized [defender] services whatsoever," and many
   existing facilities were rated inadequate.3
         For two categories of indigent defendants administrative bail
   reform offers little immediate prospect of relief. The first are the
   defendants brought to trial in jurisdictions having no "Vera" or other
   reform plans; the second are those denied relief within a reform juris-
   diction. Between them they will comprise the great majority of all
    indigent defendants for at least several decades. For such defendants
   the only foreseeable remedy lies in constitutional adjudication within
   the judicial system. Because of the publicity being given this problem
   and our growing sensitivity about unfairness in our criminal procedure
    resulting from poverty, it is a fair guess that the next major clash
   between our norms of actual administration and the constitutional
    theories expounded in recent years by the Supreme Court will revolve
    around the discrimination against the poor which is inherent in the
    bail system. Yet any satisfactory resolution of the constitutional ques-
         2
        3 See the observation of Attorney-General Kennedy, Law Day Address, Uni-
   versity of Chicago Law School, May 1, 1964: "[T]he fundamental question remains:
   Should there ever have been a need for the Gideon decision? Did we need a Con-
   stitutional determination to tell us our professional responsibilities?"
        '3 Marsden, The Lawyer's Response to the Demand for Both Stability and Change
   Through Law, 17 VAND. L.J. 125, 132 (1963).
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   tions is likely to prove extremely difficult.     Compared with other due
   process problems which have arisen in recent years, bail presents dif-
   ferences in the treatment of the poor which are more pervasive and
   pernicious. The stakes for the defendant and the state are higher, and
   values critical to the present age are more sharply in conflict with the
   force that is generated by centuries of accumulated habit and unques-
   tioned tradition. There would today be little dispute with the judgment
   that "one of the prime objectives of the civilized administration of
   justice is to render the poverty of the litigant an irrelevancy," " and
   that the provision of as equal justice as is practicable is a constitutional
   mandate as well as a policy goal. But for centuries we have also
   placed almost exclusive reliance for the regulation of pretrial detention
   and the production of defendants in court upon a bail system which
   not only uses financial incentives as a deterrent to flight but also dele-
   gates to private bondsmen much of the policing which enforces appear-
   ance in court, and have accumulated almost no experience with alter-
   native measures.
         Nor are there any easy alternatives for an accommodation of
   nondiscriminatory protection of defendants' access to pretrial freedom
   and suitable regard for the state's interest. In some European coun-
   tries, bail is either not authorized, as in Sweden, where it is "considered
   to lead to inequality before the law," or, although provided for by law,
   has fallen into disuse, as for example, in Norway, Denmark, West Ger-
   many." In these and other European countries the right to release
   turns on nonfinancial factors such as the degree of risk that during
   pretrial liberty the accused might flee, commit crimes, or tamper with
   the evidence. Where such risks are high, release can be denied
   altogether, or lesser security measures may be employed-for example,
   a ban on travel or requirement that the accused report periodically to
   the police.
         It is immediately apparent, however, that any attempted adoption
   of the substantive European law of detention would pose tremendous
   problems. For one thing, the apparent simplicity and rationality of
    individualizing the detention decision to the particular circumstances
    of the particular defendant is largely deceptive. In the best adjudica-
   tory climate the determination of such vague predictive criteria as
   future dangerousness or possible flight is necessarily unreliable, and
    under the actual conditions by which the pretrial detention determina-
    tion is made in this country the probability of maladministration is
        14 ATr'Y GEN. Comm. ON POVERTY AND THE ADMINIsTRATION OF FEDERAL CPRMI-
   NAL JUSTICE, REPORT,  5-6 (1963) [hereinafter cited as AT'Y GEN. REP.].
        16 Bratholm, Arrest and Detention in Norway, 108 U. PA. L. lv. 336, 347-48
    (1960).
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   infinite. Even in Scandanavian countries, where the substantive law
   is applied by a trained, career judiciary with a tradition of much greater
   leniency to defendants than obtains in this country, the results appear
   to be very uneven. Although the substantive legal principles governing
   detention "are generally coincident in the three countries" of Norway,
   Denmark and Sweden, Bratholm has reported that detention is sig-
   nificantly more frequent in Oslo than in Copenhagen and at least four
   times more frequent than in Stockholm. 6 Bratholm attributes the
   discrepancy to "the tendency of Norwegian courts and police to exploit
   the institution [of detention] for purposes not recognized by the
   Criminal Procedure Act," 7 but one would expect that the vagueness
   of the concepts applied would produce unevenness of administration in
   any event. If a criterion such as future dangerousness were applied in
   America, it is predictable that the magistrates and lower judiciary who
   today deliberately set high bail for indigents to prevent their release
   would have an equal opportunity to obtain the detention of the poor,
   the friendless, and the Negro by labelling them "dangerous."
         Even more critical, a proposal to substitute European individual-
   ized discretion for our present absolute right to bail would require us
   to reexamine our fundamental concepts of the criminal trial process
   in an adversary system. Any resolution of the detention problem
   involves an allocation of inescapable costs. Someone has to pay a price
   for the fact that we have to have a pretrial period between accusation
   and final adjudication. If defendants are kept locked up, the cost is
   borne by those among them who are innocent or prejudiced by the
   detention. If they are all released, society pays in those cases where
   the defendant flees or commits new crimes. In theory our system
   inclines to the second alternative. As Justice Jackson said, "the spirit
   of the [bail] procedure is to enable . . . [defendants] to stay out of jail
   until a trial has found them guilty"; the resulting danger to society
   "is a calculated risk which the law takes as the price of our system
   of justice."" It is true that these words of Justice Jackson sound a
   hollow and hypocritical note when they are read against the facts of
   day-to-day bail administration, for our law as actually administered
   puts most of the cost upon the shoulders of the poor who are detained
   and not upon society. But there is a value in unrealized ideals, and to
   close the gap between ideal and reality by abandoning the ideal is
   not a course lightly to be undertaken. The concept that accused
   persons should not be punished prior to a finding of guilty has deep
         '16 fratholm, supra note 15, at 342-43.
         11d.at 343.
         18 Stack v. Boyle, 342 U.S. 1, 7-8 (1951)   (concurring opinion).
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      roots in our culture, with no fully comparable history in Europe, and
      under our adversary system we have felt it peculiarly appropriate that
      the accused have the opportunity of "searching for evidence and wit-
     nesses, and preparing a defense." "9
           This policy problem is further complicated by the ambiguous and
     uncertain status of bail in the federal constitutional system. Standing
     alone, the excessive bail clause of the eighth amendment poses puzzling
     questions of interpretation and historical analysis. In addition, as
     applied to indigents, any rights alleged under the eighth amendment
     overlap broader due process and equal protections claims inherent in
     the financial discrimination and prejudice of the bail system. If one
     indulges in the assumption that the present blatant financial discrimi-
     nation of the bail system cannot long survive the current renaissance
     of interest in equal justice for the poor, then it makes a critical differ-
     ence whether the Court finds a resolution of the problem in an inter-
    pretation which reads the eighth amendment as including a right to
    pretrial release or, on the other hand, bypasses the eighth amendment
    and fashions a less sweeping and more flexible remedy in the name of
    due process and equal protection. By the former holding the kind of
    solution which the Europeans have evolved would be constitutionally
    proscribed, but if the second path is followed we might well end up
    with a system almost indistinguishable from that of the continent.
          Accordingly this article first examines in some detail the threshold
    question: does the eighth amendment import a right to bail? It is my
    thesis that the particular form in which the bail question appears in
   the Constitution is the result of an historical accident, and that the
   most plausible resolution of this constitutional riddle is to find an
   intention to grant such a right. Second, if one assumes a right to bail,
   what constitutional meaning is to be attached in the case of indigents
   to the requirement that such bail shall not be "excessive"? The third
   section poses a hypothetical case which raises the major constitutional
   questions to suggest the kinds of problems with which the courts will
   be faced during the next decade. Finally, we will consider some of
   the policy and administrative problems which would be created by
   either an eighth amendment or a due process-equal protection resolu-
   tion of the discrimination question.
                 I. THE EIGHTH AMENDMENT AND RIGHT TO BAIL
        Recognition of the importance of bail in order to avoid pretrial
   imprisonment was a central theme in the long struggle to implement
   the promise of the famous 39th chapter of Magna Carta that "no
      19 Ibid.
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   freeman shall be arrested, or detained in prison . . . unless . . . by
   the law of the land." " It is significant that three of the most critical
   steps in this process-the Petition of Right in 1628,1 the Habeas
   Corpus Act of 1679,' and the Bill of Rights of 1689 2 -- grew out of
   cases which alleged abusive denial of freedom on bail pending trial.
         Darnel's Case in 1627 ' involved five knights who had been
   thrown in prison by Charles I and who brought an action for habeas
   corpus at the king's bench. The return of the prison warden merely
   recited that Darnel "was and is committed by the special command of
   his majesty, &c." 25 Serjeant Bramston opened for his client by stating
   that "it is his petition, that he may be bailed from his imprison-
   ment . . . for it being before trial and conviction had by law, it is
   but an accusation, and he that is only accused ought by law to be
   let to bail." 26 Counsel for another of the knights asked "how can
   the court adjudge upon this return, that Sir John Corbet ought be
   kept in prison, and . . . that he is not bailable?" 27               The Attorney
   General argued 2 that the version of Magna Carta chapter 39, enacted
   in 1354 - upon which the petitioners relied did not apply to pretrial
   imprisonment." It was his position that only imprisonment pursuant
   to "final prosecution" must be "by due process of law"; the pretrial
   period "is not within the meaning of the statute." " When the judges
   proved their subservience to the King by denying release, the case
   was taken up in Commons as soon as Parliament convened early the
   next year. In the debates " which ensued during the preparation of
   the Petition of Right there was repeated discussion of the fact that, if
   the decision in Darnel's Case stood, it would impair the effectiveness of
   the Statute of Westminster the First of 1275 ' which governed ad-
         20
              The translation is that adopted in 1 CHAFEE, DOCUMENTS ON FUNDAMENTAL
   HUMAN RIGHTS 249, 251 (1963).
      21 1628, 3 Charles 1, c. 1.
      221679, 31 Charles 2, c. 2.
         23 1689, 1 W. & M. st. 2, c. 2.
         243 How. St. Tr. 1 (1627).
         2
         2
           5Id. at 3.
          6 Id.at 6-7.
         2
          7 Id. at 25.
         28 Id.at 39.
         29 1354, 28 Edw. 3, c. 3: "Item, That no man . . . shall be .
                                                                    . . taken nor
   imprisoned . . .without being brought in answer by due process of the law." 1
   CHAFEE, op. cit. supra note 20, at 254. Note the first use of "due process of the law"
   for Magna Carta's "the law of the land."
       30 3 How. St. Tr. at 39.
       31 Ibid.
       32 The entire proceedings appear in 3 How. St. Tr. 59-234, immediately following
   the report of Darnel's Case.
       33 1275, 3 Edw. 1, c. 15.
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   mission to bail; thus Coke stated that "the cause of imprisonment must
   be known, else the statute will be of little force            . .   ."
        It was against this background that the Petition of Right was
   adopted " and received from Charles I the grudging answer, "Soit
   droit fait come ilest d~sir6 par le Petition." " Reciting the abuse
   of cases like that of Darnel, the Petition prayed that "no freeman in
   any such manner as is before mentioned, be imprisoned or detained" "
   and thereby brought the force of Magna Carta to bear upon pretrial
   imprisonment.
        Not quite half a century later, on June 27, 1676, one Jenkes was
   arrested and imprisoned, apparently for inciting to riot in making a
   speech asking that Charles II be petitioned to call a new Parliament.3 8
   The charge was one which by statute required that Jenkes be admitted
   to bail, but on the following August 18 he was still trying in vain to
   get anyone to set and take his bail, and he was ultimately released
   only by an informal process.3 9 Cases such as Jenkes' in turn con-
   tributed to the enactment of the great Habeas Corpus Act of 1679,
   which recited that "many of the King's subjects have been and here-
   after may be long detained in prison, in such cases where by law they
   are bailable .   .   .. ,4    The act provided in great detail for an habeas
   corpus procedure which plugged the loopholes and made even the
   king's bench judges subject to penalties for noncompliance.
        The Act of 1679 stopped the procedural runaround to which
   Jenkes had been subjected, but by setting impossibly high bail the
   judges erected another obstacle to thwart the purpose of the law on
   pretrial detention. When, therefore, Parliament drew up a Bill of
   Rights which was accepted by William and Mary as they assumed
   the throne, one of the abuses by which the late King was alleged to
   have tried "to subvert . . . the laws and liberties of the kingdom"
   was that "excessive bail hath been required of persons committed in
   criminal cases, to elude the benefit of the laws made for the liberty
        343 How. St. Tr. at 69. Coke also invoked the Bible: "I will conclude with the
   highest authority, that is, 25 chap. of the Acts of the Apostles, the last verse, where
   St. Paul saith, 'It is against reason to send a man to prison without shewing a cause."'
   Ibid. See also id. at 74, 78, 87-88.
        351d. at 221-24.
         8
            Id. at 230.
        3
          7 Id. at 224, f x.
        3
         8jenkes' Case, 6 How. St. Tr. 1189, 1208 (1676).
        39
            The King ordered his release on bail after the Lord Chief Justice, apparently
   suffering pangs of conscience because he believed bail "could not be denied," went
   to the Lord Chancellor, who sent him to the Lord Treasurer, who sent him to the
   King, who "immediately commanded that the laws should have their due course."
   Id. at 1207-08.
        40 1679, 31 Charles 2, c. 2.
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    of the subjects." 41 The remedy which followed was the language with
    which we are concerned: "That excessive bail ought not to be
    required . ... "
         Two things stand out in this history. The first is that relief
    against abusive pretrial imprisonment was one of those fundamental
    aspects of liberty which was of most concern during the formative era
    of English law. The evils which were being combatted were obvious;
    as Jenkes said in one of his futile petitions:
                    My Lord, I have been imprisoned since the 28th of
               June, to my great loss, charge, and prejudice of my health.
               I have hitherto been denied bail, Habeas Corpus and the
               Writ of Main-prize; which I am informed, were never before
               denied to any of his majesty's subjects in the like case ....
               I do not beg a discharge, for I desire3
                                                        nothing more than to
               clear my innocence by a public trial.1

    His friends added that without bail "he might lie there all his life-time
    without trial, which no subject ought to do." '
         We should note, second, that as the English protection against
    pretrial detention evolved it came to comprise three separate but
    essential elements. The first was the determination of whether a given
    defendant had the right to release on bail, answered by the Petition of
    Right, by a long line of statutes which spelled out which cases must and
    which must not be bailed by justices of the peace or (in the early
    period) by sheriffs, and by the discretionary power of the judges of
    the king's bench to bail any case not bailable by the lower judiciary.
    Second was the simple, effective habeas corpus procedure which was
    developed to convert into reality rights derived from legislation which
    could otherwise be thwarted. Third was the protection against judicial
    abuse provided by the excessive bail clause of the Bill of Rights of 1689.
         The protective structure thus stands like a three-legged stool, but
    when the Americans strengthened and converted their English statu-
    tory legacy into constitutional dogma they unaccountably left off one
    of the legs. This is the heart of the federal constitutional problem.
    The principle of habeas corpus found its way into Article 1, section 9
    of the Constitution, while the excessive bail language of the 1689 Bill
    of Rights was included in our eighth amendment. But the underlying
    right to the remedy of bail itself, which these enactments supplemented
    and guaranteed, was omitted.
          41 Bill of Rights, 1689, 1 W. & M., st 2, c. 2,preamble, clause 10.
          42 Bill of Rights, 1689, 1 W. & M., st. 2, c. 2, rights, clause 10.
          43 6 How. St Tr. at 1205.
          44
               Id. at 1206.
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         Thus removed from its English historical context and standing,
   as it is, incomplete and alone, the excessive bail clause of the eighth
   amendment represents some of the most ambiguous language in the
   Bill of Rights. It is susceptible of at least three interpretations:
      (1) Bail cannot be demanded in an excessive sum in cases made
   bailable by other provisions of law, but the clause of itself imports no
   right to bail.45 Such an interpretation reaches the extraordinary result
   of a constitutional provision being merely auxiliary to some other
   law, which in the federal system must be statutory. It requires one to
   believe that a basic human right would be deliberately inserted in a
   constitution in a form which permitted Congress to restrict it at will,
   or even to render the eighth amendment entirely moot by enacting
   legislation denying the right to bail in all cases. Such legislative
  power is consistent with the English theory of civil liberties, in which
   Parliament itself constitutes the ultimate authority from which there
  is no other protection, but would constitute an anomaly in the American
  Bill of Rights whose central concern was protection against abuse by
   Congress. The difficulty is compounded when it is recalled that the
   other clauses in the eighth amendment-no excessive fines and no
  cruel and unusual punishment-traditionally have been interpreted to
  protect against abuse of legislative but not of judicial discretion. 46
        This first interpretation, moreover, leaves the amendment mean-
  ingless in the absence of legislation establishing the scope of the right
  to bail. The problem of such a patently incomplete constitutional
  protection on the subject of bail led most states, therefore, to supple-
  ment the excessive bail clause by a clause granting the right to bail in
  all noncapital cases. The two clauses were first found side by side in
  the North Carolina Constitution of 1776 and the Pennsylvania Con-
  stitution of 1790, and the pattern was widely copied in other states in
  the nineteenth century. 7 The same anomaly would become acute in the
  federal system if the eighth amendment clause were held applicable to
  the states through the fourteenth amendment. Since the federal statu-
  tory right to bail could not be incorporated for this purpose, the Court
  would have to adopt one of the following alternative interpretations.
       (2) Bail cannot be demanded in an excessive amount in cases
  in which the court sets bail, but in the absence of other statutory or
       45 See People ex rel. Shapiro v. Keeper of City Prison, 290 N.Y. 393, 49 N.E.2d
  498 46
       (1943).
          See Gallege v. United States, 276 F.2d 914, 918 (9th Cir. 1960); Papendrea
  v. United States, 275 F.2d 325 (9th Cir. 1960); United States v. Rosenberg, 195
  F.2d 583 (2d Cir. 1952).
       47 See N.C. CoNsT., Declaration of Rights, §x (Dec. 18, 1776); PA. CoNsT.
  art. ix, §§ 13, 14 (1790). See, e.g., CoNr. CoxsT. art. 1, § 14; N.J. CoNsT., art 1, 10.
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    constitutional restriction the court retains discretion to deny bail
    altogether.4" This widely-held interpretation fails to give effective
    protection even against judicial action, let alone possible legislative
    abuse. By making the clause say to the bail-setting court that it may
    not do indirectly what it is, however, permitted to do directly--deny
    release-the clause is reduced to the stature of little more than a pious
    platitude. If this is what the clause means, any purported application
    of it to the states through the fourteenth amendment would in practice
    amount only to a meaningless formality.4' Men such as George Mason
    and James Madison, who were primarily responsible for the draftsman-
    ship of the eighth amendment, felt with intensity the importance of
    what they were doing. It is difficult to believe that as to bail they
    intended nothing more than to play games with words.
          (3) The excessive bail clause implies a constitutional right to
    bail. This frequently stated interpretation has been reached by finding
    that as a necessary implication" or because of the difficulty of the
    alternatives posed above or, as suggested below, because it may be
    the interpretation most consistent with the historical evolution of the
    eighth amendment. One problem with this approach is that the
    precise scope of the "right" is undefined; for example, does it apply
    in capital cases, on appeal, or to allegedly especially dangerous
    offenders? Much more difficult is the obvious objection that if the
    founders intended by the eighth amendment to establish the right to
    bail in all or most cases, why did they not say so directly instead of
    clothing their purpose in ambiguity?          They had ample colonial
    precedents for a forthright declaration of a right to bail, going back to
    the Massachusetts Body of Liberties in 1641. Indeed, only two years
    before the Bill of Rights was debated in Congress the Continental
    Congress had inserted as one of the protections enacted as part of the
    Ordinance to govern the Northwest Territory a bail guarantee which,
    omitting any reference to "excessive" bail, provided that "all persons
    shall be bailable, unless for capital offences, where the proof shall be
    evident, or the presumption great." "' This language, in turn, found
         48
            See Carlson v. Landon, 342 U.S. 524, 544-46 (1952) (alternative holding);
     State v. Konigsberg, 33 N.J. 367, 164 A.2d 740 (1960); Ex parte Voll, 41 Cal. 29,
    31-32 (1871).
          49For an example of such gamesmanship see Mastrian v. Hedman, 326 F.2d
    708 (8th Cir.), cert. denied, 376 U.S. 965 (1964).
         &OE.g., Carlson v. Landon, 342 U.S. 524, 554-58 (1952) (Black & Burton, JI.,
    dissenting). United States v. Motlow, 10 F.2d 657, 659 (7th Cir.) (Butler, Circuit
    Justice, 1926) : "The provision forbidding excessive bail would be futile if magistrates
    were left free to deny bail."
        5
          1An Ordinance for the government of the Territory of the United States North-
    West of the River Ohio, July 13, 1787, art. ii.
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   its way into the Judiciary Act 82 which was debated in the first Congress
   concurrently with the debate on the proposed Bill of Rights.
        While the paucity of direct evidence relevant to the enactment of
   the eighth amendment precludes a satisfactory historical answer to this
   interpretive riddle, much can be learned from an examination of how
   the precise language of the eighth amendment clause, and only this
   language, found its way to the floor of the first Congress. Contempo-
   rary American and English bail law is also significant in ascertaining
   the probable intention behind the use of the clause and is highly rele-
   vant to any attempt to accommodate the language of the amendment
   to the policy problems of current criminal administration.

      A. The First Congress and the Colonial Experience With Bail
        The bail problem was before the first Congress in the spring
   and summer of 1789 in two separate legislative packages: the excessive
   bail clause as one of the proposed amendments to the Constitution, and
   section 33 of the Judiciary Act extending an absolute right to bail in
   all noncapital federal criminal cases. Madison first announced his
   intention of introducing constitutional amendments in the House on
   May 4,53 actually proposed them on June 8," and reintroduced them
   on July 21." The House sent seventeen proposed amendments to the
   Senate on August 24 " and on September 21 concurred in the Senate's
   action reducing the number of amendments to twelve." Meanwhile the
   Judiciary Act was drafted in a Senate committee between April 7 and
   June 12, s passed the Senate July 17," was debated in the House on
   August 29 and 31 " and, after some negotiation between the two
   branches, was finally completed with Senate passage on September 29. 61
        Both the amendments and the Judiciary Act were controversial
   and were related, at least as perceived by opponents of the establish-
       82 1 Stat. 91, § 33 (1789).      Substantially the same provision now appears in
   FED. R. CRim. P. 46.
        53 1 ANNALS OF CONG. 247 (1789-91) (pagination in citations to the ANNALS
   in this article is that found in the version known as 1 DEBATES & PROCEEDINGS IN
   THE CONGRESS OF THE UNITED STATES: 1789-1791 (1834)). For a discussion of this
   session of Congress see RUTLAND, THE BIRTH OF THE BILL OF RIGHTS 197-215 (1955)
   [hereinafter cited as RUTLAND].
        84 1 ANNALS OF CONG. 424, 433-36 (1789-91); RUTLAND 206-07.
      65 RUTLND 206-07.
      56 RUT.AND 209.
       87
            RUTLAND   215.   These were submitted to the states, and ten of them received
   the necessary approval and came into effect in 1791. Id. at 233 & n.1.
       8 1 ANNALS OF CONG. 18, 46 (1789-91).
       89 Id. at 50.
       6o Id. at 796-833.
       OlId. at 92, 93.
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    ment of a system of lower federal courts who sought both to obtain
    an amendment negating such a system and to defeat the plan in the
    Judiciary Act."2 But most of the vigorous debate on the Bill of Rights
    turned on the question of whether or not any amendments at all were
    needed and the House debate on the Judiciary Act was almost entirely
    concerned with the lower federal court proposal. 3 Debate on the
    merits of particular proposals in either legislation was otherwise
    meagre or absent. As to bail there is no record of any debate in
    either House or Senate on the right to bail provision of the Judiciary
    Act, and there are only a few lines in the House record ' and nothing
    in the Senate's as to the excessive bail amendment.
          In short, I have found nothing to indicate that anyone in Congress
    recognized the anomaly of advancing the basic right governing pretrial
    practice in the form of a statute while enshrining the subsidiary pro-
    tection ensuring fair implementation of that right in the Constitution
    itself. Each bail provision was enacted as originally proposed, on the
    one hand, by Madison, and on the other, by the Senate committee.
    There is no evidence in Madison's speech in the House on June 8, in
    which for the first time he revealed the proposed content of the Bill
     of Rights, that he had any knowledge of what the Senate committee
    was about to recommend on the subject of bail. It is equally unlikely
    that the Senate committee, which had already been working for two
     months on the Judiciary Act and which reported its draft bill only four
     days after Madison's speech, was influenced in drafting its bail pro-
     posal by either that speech or by any knowledge that a constitutional
     amendment on the subject might be enacted at some indefinite time in
     the future. Whereas in June even the desirability of any bill of rights
     was uncertain, passage of a judiciary act was recognized as an im-
     mediate necessity."5 There is, therefore, no evidence in the concurrent
     consideration of the Bill of Rights and Judiciary Act of any deliberate
     congressional intention to exclude a right to bail under what became
     the eighth amendment.
           Even if what happened in Congress in 1789 is not helpful in re-
     solving the anomaly of the eighth amendment, we are fortunate in
          02 See Warren, New   Light on the History of the Federal Judiciary Act of 1789,
    37 HAgv. L. Rxv. 49, 123 (1923).
        & 1 AxNALS OF CONG. 796-809, 812-15, 825-65 (1789-91).
        64 Id. at 754; see text accompanying note 121 infra.
        65 See the remarks of Congressman William Smith on August 13:
        The Constitution establishes three branches to constitute a whole; the Legisla-
        tive and Executive are now in existence, but the Judicial is uncreated. While
        we remain in this state, not a single part of the revenue system can operate;
        no breach of your laws can be punished; illicit trade cannot be prevented.
    1 AxNALS OF CoNG. 705 (1789-91).
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   having other evidence which goes far to explain how this curious de-
   velopment occurred. Just as the right to bail statute and the excessive
   bail amendment were apparently independently conceived and con-
   sidered in the Congress, they were the products of two entirely different
   chains of historical development.
         The first of these separate chains was the background English
   history to which we have already made reference. By the time of the
   American revolution, English bail law was a tangled morass. The
   basic Statute of Westminster the First of 1275 "6provided a detailed
   enumeration of what offenses sheriffs must bail or could not bail and
   remained the basic guideline "for five centuries and a-half." " It
   represented a reaction against abuses which had developed under
   earlier law which gave sheriffs discretion whether or not to admit to
   bail."8 In succeeding centuries many additional statutes were piled
   one upon another as the power to bail was transferred from the sheriff
   to the justice of the peace and as Parliament sought to check illegal
   bailing of nonbailable offenders." Such English bail statutes were im-
   portant matrices in the struggle which shaped our criminal procedure.7"
   As we have already noted, the detailed statutory pattern was reinforced
   by the Petition of Right, the Habeas Corpus Act and the excessive
   bail clause of the 1689 Bill of Rights.
         This confusing legislative patchwork quilt was not discarded until
   well into the nineteenth century, when by 7 Geo. 4, c. 64, and 11 & 12
   Vict., c. 42, s. 23, all prior legislation was repealed and, in a major
   modification of policy, the justices of the peace were given discretionary
   power to grant or deny bail in all felonies or common law mis-
   demeanors. 7 ' But at the time of the enactment of the eighth amend-
   ment the basic pattern was legislation which either required the justice
       06 1275, 3 Edw. 1, c. 12.
       67 1 STEPHEN, A HISTORY OF THE CRImINAL LAW OF ENGLAND 236 (1883). For
   the purposes of this article the term "bail" is used for any release on security without
   regard to the ancient distinctions among bail, mainprise or the writ de odio et atia.
   See 2 POLLOCK & MAITLAND, THE HISTORY OF ENGLISH LAW BEFORE THE TiM or
   EDWARD I 587-90 (2d ed. 1898). As to the very early origins of the procedure, see
   DE HAAS, ANTIQUITIES OF BAmL (1939).
        68 1 STEPHEN, op. cit. supra note 67, at 236. For the importance of the sheriff's
   judicial role in the 13th century, see STENTON, ENGLISH JuSTICE BErwEEN THE
   NORMAN CONQUEST AND THE GREAT CHARTER 1066-1215, at 80-82 (1964).
        09 4 HOLDSWORTH, A HISTORY OF ENGLISH LAW 526-28 (3d ed. 1945) ; 1 STEPHEN,
   op. cit. supra note 67, at 235-37.
       70 Id. at 237. For example, we have already noticed that the evolution of habeas
   corpus was closely tied to abuses of bail law. The bail legislation of 1486 was part of
   the tightening up on judicial administration which included the creation of the Star
   Chamber, and an act touching bailment of persons, 1554, 12 Phil. & M., c. 13, a
   statute designed to guard against collusion in granting bail, for the first time made
   provision for what became the preliminary hearing.
       711d. at 23&
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    to admit to bail or to deny it. There were two exceptions to this
    nondiscretionary policy. One was the fact that during the proliferation
    of statutes after 1275 there crept in a third category of cases, described
    by Blackstone as "of a dubious nature," which "seem to have been
    in the discretion of the justices, whether bailable or not." 7 Second,
    the statutes all related to the bailing power of the justice of the peace
    or, in very early times, the sheriff. Cases which the justices were
    forbidden to admit to bail were apparently always bailable in the dis-
    cretion of a higher judge or court such as the king's bench; 73 in any
    event that power was settled by the Petition of Right of 1628 and in
    the Parliamentary debate of that year it was stated that this discre-
    tionary power to bail even the most serious cases "the constant practice
    hath been anciently and modernly to bail men . .                 ."    74
         When one turns to prerevolutionary America the English statu-
    tory pattern was in force in at least some of the colonies.75 In New
    York, the Charter of Liberties and Privileges of 1683 incorporated a
    right to bail which excepted "treason or felony plainly and specially
    Expressed and menconed in the Warrant .                 .   ."        As this limitation
    is taken almost verbatim from the Habeas Corpus Act's clause except-
    ing the same class from the act, and as its reenactment in 1691 expressly
    referred to English bail law, it serves as another indication of the
    interrelationship of English and some colonial legislation.
          724 BLACKSTONE, COMMENTARIES        296 (1st Am. ed. 1772).
          73 1 S   HEN, op. cit. sipra note 67, at 243.
         74
            Proceedings in Parliament relating to the Liberty of the Subject, in 3 How.
    St. Tr. 59, 154 (1628).
         75 2 Statutes at Large of S.C. 452, 481 (Cooper 1837) (enacting basic English
    bail statutes, for example Bail Act, 1487, 3 Hen. 7, c. 3; Bailment of Persons Act,
    1554, 1 & 2 Phil. & M., c. 13); see Keith v. Barton, 2 Hill 214 (S.C. 1834). In
    Georgia, the Statute of Westminister First of 1275, 3 Edw. 1, c. 15, was declared
    in force in a codification of SCHLEY, A DIGEST OF THE ENGLISH STATUTES OF FORCE
    IN THE STATE OF GEORGIA 83 (1826), and presumably was regarded as in force during
    the colonial period. Several basic English bail statutes were included in the Province
    of North Carolina Act of 1749 "to put in Force in this Province" many English
    statutes. See Brown, British Statutes, in AMERICAN LAW 1776-1836, at 360, 366, 368
     (1964). The North Carolina Act, however, was disallowed by an order in council.
    Id. at 17.
         761 N.Y. COLONIAL LAWS 111, 114 (1894).
          77
           Act Declaring Rights and Privileges, May 13, 1691, in id, at 244, 247, quali-
    fied the limitation of the English Habeas Corpus Act, 1679, 31 Charles 2, c.2, by
    adding the following language: "and that the fellony be such as is restrained from
    Bayle by the Law of England."
          As to the confused status of these charters in colonial New York see BRADFORD,
    LAWS AND ACTS OF THE GENERAL ASSEMBLY FOR THEIR MAJESTIES PROVINCE OF NEW
    YORK at cxii (Fowler facsimile ed. 1894) :
           The act [of 1691] itself, like its predecessor, the celebrated "Charter of
          Libertys" of 1683, was finally vetoed by the crown, but without seriously cur-
        tailing the liberties of the people, or altering the constitution of the province,
        already settled on the basis of English public law.
    See also I HAMLIN & BAKER, SUPREME COURT OF JUDICATURE OF THE PROVINCE OF
    NEW YORK 1691-1704, at 378-89 (1959) ; they quote from another source that a reason
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        By far the most significant thing about the colonial experience,
   however, was an entirely indigenous development which deviated
   sharply from English precedent and which ultimately produced the
   language of the Judiciary Act adopted by the first Congress. This
   stream goes back to the Massachusetts Body of Liberties in 1641,
   which included the following provision:
              18. No mans person shall be restrained or imprisoned
         by any Authority what so ever, before the Law hath sen-
         tenced him thereto, If he can put in sufficient securitie, bayle
         or mainprise, for his appearance, and good behavior in the
         meane time, unlesse it be Crimes Capital, and Contempts in
         open Court, and in such cases where some expresse act of
         Court [i.e. legislature] doth allow it.78

   Where this major bench mark in American bail history came from
   appears to be a mystery; there was certainly nothing like it in England.
   According to Winthrop, the Body of Liberties resulted from the desire
   to substitute "positive laws" for those cases in which the magistrates
   "might proceed according to their discretions." 19 The clause was re-
   enacted in 1648 as part of the first comprehensive codification in the
          80
   colony.
        The Massachusetts pattern reappeared in numerous forms along
   the way to the first Congress of 1789. In 1682 it was stated in the
   fundamental law of Pennsylvania 8 in a form which reappeared in
   North Carolina in 1776 ," and later was widely copied in 19th century
   state constitutions: "That all prisoners shall be bailable by sufficient
   sureties, unless for capital offences, where the proof is evident, or the
   presumption great . .. .
        In the decade immediately preceding debates in the first Congress,
   the Massachusetts influence appeared again in two important acts. In
   the fall of 1776 the Virginia legislature ordered a complete "revisal"
   for the royal disallowance of the 1691 charter was that it gave too great and un-
   reasonable privileges to the province. Id. at 385 n.196. In 1853 it was held that the
   1683 charter was not in force in New York, but with some implication that the 1691
   charter survived the English disallowance. See Van Winkle v. Constantine, 10 N.Y.
   422, 427-28 (1853).
       78 Ma.ssachusettsBody of Liberties, in MASSACHUSETS COLONIAL LAWS 37 (Whit-
   more ed. 1887). For a recent construction of this clause, which is still in force in
   Massachusetts, to permit discretion in granting bail in capital cases see Commonwealth
   v. Baker, 343 Mass. 162, 177 N.E.2d 283 (1961).
        79
           Quoted in HAsxiNs, LAW AND AUTHORITY IN EARLY MASSACHUSETTS 36
    (1960). Winthrop specifically wished "a body of grounds of laws, in resemblance
   to a Magna Charta, which . . . should be received for fundamental laws." Ibid.
        80 LAWS AND LmERmS oF MASSACHUSETTS or 1648, at 28 (Farrand ed. 1929).
        81
           Laws Agreed Upon in England, May 3, 1682, in PROCEEDINGS RELATIVE TO
   CALLING THE: CoNvENTIONs OF 1776 AND 1790, at 26, 28 (1825).
       8 N.C. CoNsT. Declaration of Rights § x (Dec. 18, 1776).
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     of its laws8 3 to adapt them "into conformity with republican prin-
     ciples," " and delegated the task to a small committee of which
     Jefferson was a member."' As part of this work Jefferson drafted a
     bill which entirely eliminated any judicial discretion as to whether bail
     should be granted "if the crime be punishable in life or limb,
     or if it be manslaughter, and there be good cause to believe the party
     guilty thereof, he shall not be admitted to bail; all other cases are
     bailable." "' Another bill in the "revisal" was an act "for Proportioning
     Crimes and Punishments in Cases Heretofore Capital," 87 in which
     Jefferson propounded his occasionally strangely repressive and some-
     times brilliantly radical proposals for criminal law reform."5 Read
     together, the two bills provide a comparatively liberal bail structure.
     Aside from treason and murder, where capital punishment was re-
     tained, statistically important crimes like burglary, housebreaking, all
     forms of larceny and horsestealing were made noncapital and thereby
     bailable. Jefferson had some strange notions about rape, sodomy and
     maiming of which he later recanted,'" and whether these offenses were
         83
             For an account of this activity, the text of the proposed statutes and their
    disposition in the legislature see 2 THE PAPERS OF THOMAS JEFFERSON 305-665 (Boyd
    ed. 1950).
         84 Id. at 305.
         85 The committee first met in January, 1777 to divide up the work. Jefferson,
    Autobiography, in 1 WRITINGS OF THOMAS JEFFERSON 1, 58 (Ford ed. 1892). Two
    years later the members came together with their products and "meeting day by
    day, we examined critically our several parts, sentence by sentence, scrutinizing and
    amending until we had agreed on the whole." Id. at 61. The committee's report,
    with full notes and annotations, is published in 2 THE PAPERS OF THOMAS JEFFERSON
    305-665 (Boyd ed. 1950). Originally there had been five members of the committee,
    but two withdrew and "Jefferson was nominally and actually the leading figure in
    the revisal." Id. at 313. The "revisal" is an extraordinary document of legislative
    reform, all the more remarkable when one considers that Jefferson had no budget,
    no research assistants or advisory committees, and that during these same two years
    he was involved in the day to day work of the Virginia legislature where his legis-
    lative "accomplishment . . . was astonishing. He was in himself a veritable
    legislative drafting bureau." Id. at 306. The "revisal" is most widely known for its
    Act for Establishing Religious Freedom, id. at 545, its democratization of descent
    law, id. at 391-93 (abolishing primogeniture) and its proposals on education, id. at
    526 (free public elementary schools for all children), id. at 535 (transformation,
    complete with proposed curriculum, of William and Mary College into a university),
    id. at 544 (public library, really a center for advanced study and research, to be created
    at Richmond). These projects have overshadowed many important proposals for
    reform of civil law, e.g., id. at 626 (legal aid) and criminal law and procedure with
    which much of the "revisal" was concerned. E.g., id. at 103 (criminal procedure);
    notes 86-87 infra.
         86 Id. at 481.
         8t Id. at 492-507.  Unlike most of the rest of the "revisal," Jefferson appended to
    this bill numerous annotations and comments.
         88 Compare the proposals for hanging and then gibbeting some murderers, id.
    at 495, or castrating, inter alia, those guilty of polygamy, id. at 497, with the abolition
    of the felony murder rule, id. at 496, the cogent reasons advanced for the abolition
    of suicide and bestiality as crimes, id. at 496-97, the rejection of the English statute
    which made concealment by the mother of the death of a bastard child murder, id.
    at 494, and the general moderation of the penalties substituted for capital punishment.
         89 On the provision of the lex talionis for these crimes Jefferson later wrote:
    "How this last revolting principle came to obtain our approbation, I do not remember."
    Jefferson, Autobiography, in 1 WRITINGS OF THOMAS JEFFERSON 1, 60 (Ford ed. 1892).
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    intended to be bailable depended upon whether, for example, cutting
    through the cartilage of the nose "a hole of one half inch diameter at the
    least" constituted a crime punishable in life or limb" (and thereby non-
    bailable) ."
          This Virginia "revisal of the laws" did not reach the Virginia
    legislature until 1785. Jefferson being out of the country, Madison
    introduced the bills 91 and was thus acquainted at first hand with the
    liberal, nondiscretionary approach to bail which characterized this
    stream of colonial development. Many years later Jefferson paid
    tribute to "the unwearied exertions of Mr. Madison" in steering the
    revision through the legislature "in opposition to the endless quibbles,
    chicaneries, perversions, vexations and delays of lawyers and demi-
    lawyers . . .".         92   The end result was anomalous: the bail bill was
    adopted but the crimes act defeated in the House by a single vote,3
    leaving a bail provision designed to be broad rather restrictive instead.
         In 1787 this preconstitutional liberal trend culminated in the
    Continental Congress with the adoption of the Northwest Ordinance,
    to which we will return in a moment, guaranteeing an absolute right
    to bail in noncapital cases in terms substantially identical to those used
    in Pennsylvania in 1682. 4
         By the time of the first Congress, then, American experience had
    gone far beyond contemporaneous English law in the scope given the
    right to bail.9 5 Haskins' comment about the significance of the bail
    provision in the Massachusetts Body of Liberties is equally applicable
    to Pennsylvania and the Virginia Revision: "In the simplicity of its
    administration, as well as in the protection that it afforded to the
    accused, the colonial practice was certainly far in advance of the
    English." 96 This in turn was part of a broad humanization of the
    criminal law which ran far ahead of contemporaneous English thought
    and practice. This liberalization was not just the example of a
    Jefferson who was decades if not centuries ahead of his own time 97

        90 2 PAERs OF THOMAS JEFFERSON 497 (Boyd ed. 1950).
        91 Ibid.
        12 Jefferson,   Autobiography, in 1 WRrrINGS OF THOMAS JEFFERsox 1, 62 (Ford
    ed. 1892).
         032 THE PERS OF THOMAS JmaESON 481, 506 (Boyd ed. 1950).                   Madison
    wrote Jefferson that "The rage against Horse stealers had a great influence on the fate
    of the [crimes] Bill. Our old bloody code is by this event fully restored .
    Id. at
         9 506.
           4 See note 51 supra.
         95 There may be other colonial material which I have not been able to find, but
    this analysis is persuasive in view of the well established trends in the major colonies
    of Massachusetts, Pennsylvania and Virginia.
         96 HASKINS, op. cit. supra note 79, at 199.
         9
           7 Compare, e.g., 2 PAPERS op THOMAS JEFFERSoN 496 (Boyd ed. 1950) (Vir-
    ginia "revisal" proposal to abolish the felony murder rule by abrogating transferred
    intent), with British Homicide Act of 1957, 5 & 6 Eliz. 2, c. 11, § 1.
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    but was characteristic of influential colonial opinion. The Quaker
    leadership of Pennsylvania won world-wide renown for their pro-
    gressive leadership in penology, while in Massachusetts
             . . .no more striking or important example of the influence
            of Puritan beliefs upon the law can be found than in the
            procedures developed for dealing with criminal offenses.
            The evidence of the court records provides notable illustra-
            tions of the extent to which the magistrates directed the
            criminal law of the colony away from traditional concepts
            of retribution which permeated English criminal law, toward
            practices which emphasized moral persuasion in order to
            reform the offender. . . . The colonial laws . . .prescribed
            relatively mild punishments for crimes such as theft and
            burglary for which many hundreds of Englishmen were sent
            to the gallows every year. 8

         Equally striking are the opposing tendencies in English and
   American law with regard to the amount of discretion extended to the
   judiciary in the determination of right to release on bail. We have
   seen in England a movement from the legislation of 1275 which,
   reacting against abuse of discretion, imposed upon the lower judiciary
   a nondiscretionary pattern, through centuries in which there was a
   slow accretion of some discretionary power, with an ultimate substitu-
   tion in the nineteenth century of a broad judicial discretion in place of
   legislative definition of the scope of the right. By the time this last
   stage had been reached, America had moved so far in the other direc-
   tion that, usually by explicit state constitutional provision or, as in
   the federal system, by statute, the right to bail had become absolute in
   all noncapital cases. Thus Jefferson's Virginia bill was explicit in
   depriving the justice of all discretion, providing punishment if he "let
   any go at large, on bail, who is not bailable, or refuse to admit to
   bail any who have right to be so admitted . . . . "         At the time of
   the first Congress, the American trend towards a fixed absolute right
   was already well advanced, but the significant change in England
   towards discretion was still largely in the future.
        In the light of this history on both sides of the Atlantic, statements
   such as the following by the New Jersey Supreme Court are incompre-
   hensible: "At common law. . . in this country. . . the grant of bail in
       98
           HASKINS, op. cit. supra note 79, at 204, 211. But of course the Massachusetts
   pattern cannot be characterized as "humanitarian in any modern sense," for the
   "colonial laws extended the penalty of death to several offenses" not so punished in
   England. The crimes taken off the death list, however, were those which numerically
   were most frequent.
        99 2 THE PAPERS OF THimAs JEFFERSON 481 (Boyd ed. 1950).
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   all cases rested in the discretion of the courts." 10 The only authorities
   cited for this proposition were three cases involving capital offenses.
   Similarly barren of relevant authority are comparable declarations in
   California"' 1 and New York.102 In Carlson v. Landon, a 5-4 majority
   of the Supreme Court held that alien communists under deportation
   charges are not entitled to bail under the eighth amendment.'          The
   rather cavalier paragraph by which the majority disposes of the issue
   is ambiguous. It concludes only that the amendment "does not require
   that bail be allowed under the circumstances of these cases," but
   earlier the Court implied that in any event the excessive bail clause
   does not confer a right to bail in ordinary criminal prosecutions. The
   court states that the English excessive bail clause "has never been
   thought to accord a right to bail in all cases, but merely to provide
   that bail shall not be excessive in those cases where it is proper to
   grant bail." Aside from the misleading use of the word "proper,"
   as if the court regarded propriety as a judicially instead of legislatively
   determined factor, the authority cited to support the statement indicates
   that the majority misunderstood English bail law as it then existed.
   For this sentence the Court referred to the section of an 1824
   English bail treatise which dealt with the common law powers of the
   court of king's bench to bail in their discretion offenses made non-
   bailable by statute.' 4 Of course this discretionary power to afford
   relief for meritorious but nonbailable cases is entirely irrelevant to the
   issue of what relationship may exist between an excessive bail clause
   and the right to bail. This misconception about the relative distribution
    of bail power among the various English courts and the fact that
   American courts seem not to have realized that the bail powers of the
    justices of the peace have been largely discretionary only since 1826
    may be responsible for the error     of assuming English bail law always
                                 05
    to have been discretionary.
        100 State v. Konigsberg, 33 NJ. 367, 370, 164 A.2d 740, 742 (1960).
        101Ex parte Voll, 41 Cal. 29, 31-32 (1871).
        102 People ex rel. Shapiro v. Keeper of City Prison, 290 N.Y. 393, 49 N.E2d
   498 (1943). The court held that N.Y. Code Crim. Pro. § 553, providing that bail
   is discretionary in felony cases, was constitutional notwithstanding an excessive
   bail clause in the New York Constitution. The discretionary power to deny bail
   under this statute, however, has been very narrowly construed in New York. See
   New York Bail Study 697-98.
        103 Carlson v. Landon, 342 U.S. 524, 545-46 (1952).
        1 4
         0 PErERSDoRFF, A PRAcrIcA.L TREATISE oN THE LAW OF BAIL (1824).                The
   Court's citation, 342 U.S. at 545 n.43, is to page "483 et seq." At 483-87 is the
   section on the powers of the court of king's bench. Petersdorff's summary of the
   applicable statutory law is at 475-82.
        105 Of course it is with the period prior to 1826, when bail power was substantially
   not discretionary, with which we are exclusively concerned in trying to ascertain the
   intention of our first Congress.
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                     B. The Unknown Social History of Bail
         How well a bail system works in effectuating the policy of
    releasing defendants prior to conviction cannot be ascertained from
    reading constitutions, statutes, and cases. A future historian who had
    only such sources available to him in trying to ascertain what was
    actually going on today would be completely misled, for although our
    paper rights cast us in a very liberal light, our practice is in fact quite
    repressive. What we need is a social history of bail which would allow
    us to compare actual pretrial practices in relevant periods of history.
    Such data does not exist and cannot be reconstructed. All we can find
    are hints from which we guess how much risk society really took and
    how the costs of a pretrial administration were actually allocated be-
    tween the defendant and the state in any given period. But such guesses
    are hazardous. The Statute of Westminster the First, which provided
    a substantial list of offenses which were bailable even though together
    with a longer enumeration of nonbailable crimes, also suggests at least
    a certain liberality. Indeed, our "historical evidence" indicates that
    in England in the thirteenth and fourteenth centuries pretrial detention
    was actually rarely utilized.'0 0 It is difficult, however, to draw any
    useful conclusions from these facts about how early English bail policy
    actually worked in practice. Not only were most of the seriously
    accused excluded because of the proliferation of capital crimes, but
    primitive procedures for dealing with persons accused removed many
    more from the pretrial population. In 1275 both outlawry'0 7 and the
    hue and cry were still extant; in the thirteenth century "this [hue and
    cry] barbaric justice is ridding England of more malefactors than the
    king's courts can hang." 10' Under either of these procedures the
        106 2 PoLLocK & MArrLAND, HIsToRY OF ENGLISH LAW 584 (2d ed. 1898): "It
    was not common to keep men in prison. This apparent leniency of our law was not
    due to any love of an abstract liberty. Imprisonment was costly and troublesome.
     . . . [and] there were many ways out of it. . . . The sheriff did not want to keep
    prisoners; his inclination was to discharge himself of all responsibility by handing
    them over to their friends." Ibid.
         10 7 For a discussion of "outlawry" see id. at 580-81.
         105 Id. at 579.
               When a felony is committed, the hue and cry (hutesium et clamor) should
         be raised.. . . The neighbours should turn out with the bows, arrows, knives,
         that they are bound to keep and, besides much shouting, there will be horn-
         blowing; the "hue" will be "horned" from vill to vill.
               Now if a man is overtaken by hue and cry while he has still about him
         the signs of his crime, he will have short shrift. Should he make any
         resistance, he will be cut down. But even if he submits to capture, his fate
         is already decided. He will be bound, and, if we suppose him a thief, the
         stolen goods will be bound on his back. He will be brought before some
         court (like enough it is a court hurriedly summoned for the purpose), and
         without being allowed to say one word in self-defence, he will be promptly
         hanged, beheaded or precipitated from a cliff, and the owner of the stolen
         goods will perhaps act as an amateur executioner.
    Id. at 578-79.
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   question of what to do with a man between arrest and trial was entirely
   moot, because there was no pretrial period to speak of and virtually no
   trial, the culprit being hustled to his death in short order. Society can
   perhaps afford the luxury of a liberal bail procedure if it is certain that
   all the really dangerous and obviously guilty defendants have been
   hanged first. In any event, even more than today, bail legislation on
   the statute books probably bore little relation to the actualities of
   practice.
         Emphasis has been given above to the importance of the Massa-
   chusetts Body of Liberties of 1641 in that it deviated from and
   liberalized English bail law. But the theoretical liberality of that 1641
   bail statute should not be overdrawn. Massachusetts punished with
   death and therefore made nonbailable the offenses of
        idolatry, witchcraft, blasphemy, bestiality, sodomy, adultery,
        rape, man stealing, treason, false witness with intent to take
        life, cursing or smiting a parent, stubbornness or rebellious-
        ness on the part of a son against his parents, and homicide
        committed with malice prepense, by guile or poisoning, or
        suddenly in . . . anger or cruelty or passion." 9

   Here Massachusetts did soften the more barbaric law of England-
   most notably, the list of capital offenses omits burglary, robbery and
   larceny while its oddities can be explained by an examination of the
   book of Deuteronomy to which the Puritans were so devoted. But it
   would be fallacious to compare the Massachusetts statute with con-
   temporary provisions using almost identical language. Social condi-
   tions doubtless made it much harder in fact for an accused to flee the
   jurisdiction, probably detention facilities were inadequate, and the
   general immobility of the population imposed risks on society of a
   very different order.
         However, there is some Massachusetts data suggesting that the
   liberality of the written law was reflected in practice although the
   details of actual administration are substantially unknown. The pub-
   lished records of some seventeenth century Massachusetts courts indi-
   cate that it was routine to release pending trial defendants charged with
   such serious and sometimes capital offenses as: burglary, theft, ag-
   gravated assault and battery, attempted rape, bigamy, fornication and
   bastardy (the favorite offenses of that colony at that time), arson,
   infanticide, manslaughter and blasphemy."' Some New York records
       109 HASKIs,    op. cit. supra note 79, at 145-46.
       11o A particularly useful and vivid account of lower court practice in Massachu-
   setts is CoLONIAL JUSTICE IN WESTERN MASSACHUSETTS (1639-1702) : THE PYNcHoN
   COURT RECORD (J. Smith ed. 1961). For references to pretrial release see id. at 151,
   153, 281 (burglary), 292 (aggravated assault and battery), 316 (theft), 389-90 (at-
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    suggest similar liberality, for example, release in cases of sedition, riot,
    treason, theft and murder, together with one instance of bail pending
    appeal following imposition of the death sentence."1 There are scat-
    tered instances of pretrial practice in the court records of other colonies,
    and the frequent declarations of forfeiture also attest to a common
    pattern of pretrial release."l     When bond was required commital to
    jail was the  alternative to  putting up the required security; but in the
    great majority of instances cited, the record shows that the accused
    was actually released. While these colonial practice materials which
    have been available to me are fragmentary, I have found in them no
    indication of anything other than liberal administration of the relatively
    liberal colonial laws. They constitute some evidence of the attitude
    which the former colonists brought with them to independence and
    constitution-making.

                         C. The Virginia Declaration of Rights
          It is probably not surprising that for nearly ninety years after
    Parliament had enacted the English Bill of Rights there appears to
    have been no reference to excessive bail in any American legislation.
    The charter-making period of colonial history had been completed by
    the end of the seventeenth century and in any event the colonists, as
    British subjects, assumed they were protected by the principles of such
    basic English legislation as Magna Carta, the Habeas Corpus Act, and
    the Bill of Rights."3    In any event, the excessive bail proviso of the
    tempted rape?). See also 2 MAINE PROVINCE & COURT RECORDS (Libby ed. 1931),
    at 104-05 (stealing), 424 (bigamy); 3 MAINE PROVINCE & COURT RECORDS (Moody
    ed. 1947), at 65 (perjury), 258 (murder), 258-59 (attempted rape of nine year old
    girl), 273 (assault) ; 4 MAINE PROVINCE & COURT RECORDS (Allen ed. 1958), at 282
    (theft), 288-89 (attempted rape?), 310-11 (bond pending appeal), 341 (fornication,
    bastardy), 341-42 (manslaughter?), 373-74 (infanticide); Records of the Suffolk
    County Court 1671-80, in 29 PUBLICATIONS OF THE COLONIAL SOCIErY OF MASSACHU-
    sETTs (1933), at e.g., 86-87 (blasphemy), 150 (bigamy), 310 (theft).
        1111 HAMLIN & BAKER, op. cit. supra note 77, at 60 n.51, 169 n.66 (murder),
    (theft), 287-89 (practice of courts in hearing bail cases), 307 (pending appeal of death
    sentence) ; 2 HAMLIN & BAKER, SUPREME COURT OF JUDICATURE OF THE PROVINCE
    OF NEW YORK 1691-1704, at 110-12 (1959), 246-48 (riot), 289 (treason) ; 3 HAMLIN
    & BAKER, SUPREME COURT OF JUDICATURE OF THE PROVINCE OF NEW YORK 1691-1704,
    at49 (1959)    (sedition).
        112CoRT RECORDS OF KENT COUNTY, DELAWARE 1680-1705 (1959), at 294-95;
    COURT RECORDS OF PRINCE GEORGES COUNTY, MARYLAND 1696-1699 (1964), at 460
    (maiming); 2 RHODE ISLAND COURT RECORDS 1662-1670 (1922), at 13, 37, 52; TH1E
    SUPERIOR COURT DIARY OF WILLIAM SAMUEL JOHNSON 1772-1773 (Farrell ed. 1942)
    (Connecticut), at xliii (counterfeiting, etc.).
          References to forfeitures appear in the sources cited in notes 110-11 supra. See,
    e.g., 2 HAMLIN & BAKER, op. cit. supra note 111, at 288; Records of the Suffolk
    County Court, supra note 111, at 183, 442, 478 (remission), 409 (fornication and
    bastardy, surety charged also with support of child).
        113 See, e.g., resolutions 5-7 of the Declaration and Resolves of the Continental
    Congress, Oct. 14, 1774, in 1 JOURNALS OF THE CONTINENTAL CONGRESS, 1774-89
    63-73 (Wash. 1904) (assuming protection from English law).
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   1689 Bill of Rights was merely one segment of the English history,
   and we have already noted that the preamble of this clause makes it
   abundantly clear that its only purpose was to shore up the enforcement
   of preexisting rights to bail. The relatively subsidiary importance of
   the clause in English law is illustrated by Blackstone's relegation of it
   to a single sentence buried in the middle of a five-page chapter on bail.1 4
         But in June of 1776, less than a month before the proclamation
   of the Declaration of Independence in Philadelphia, the Virginia legis-
   lature enacted the famous Virginia Declaration of Rights, and here
   for the first time, as clause nine, appeared the language taken from
   the English Bill of Rights: "That excessive bail ought not to be re-
   quired, nor excessive fines imposed, nor cruel and unusual punishments
   inflicted." With the substitution of "shall not" for "ought not to be,"
   this is the wording of the eighth amendment. Aside from the obvious
   inference to be drawn from the identity of language, the path from
   Williamsburg in 1776 to the Congress in 1789 can easily be traced.
   The Virginia Declaration exercised a magnetic force, and its ninth
   section was incorporated in the Revolutionary period constitutions of
   Maryland, Delaware, North Carolina, Georgia and Massachusetts. It
   was in Virginia, moreover, that one of the most vigorous fights de-
   veloped in the struggle over ratification of the Constitution. By the
   time of the Virginia debate the Constitution had been ratified without
   qualification in six states; three others, Massachusetts, South Carolina
   and New Hampshire, had coupled ratification with strong recom-
   mendations for the adoption of certain amendments as a bill of rights.
   These did not, however, make any reference' to bail. This latter pro-
   cedure was adopted in Virginia, whose convention recommended a bill
   of rights closely following the language of their earlier Declaration
   of Rights, including the excessive bail clause. The subsequent ratifica-
   tions by New York, North Carolina and Rhode Island included the
   same recommendation. When Madison rose in the House of Repre-
   sentatives a year later to propose the amendments which became the
   Bill of Rights he took the excessive bail language exactly as it had been
   recommended by the Virginia Convention, which in turn had taken
   it verbatim from the 1776 Declaration.
       11
          4 As made available to the colonists in the first American edition of Blackstone,
   published in Philadelphia in 1772, the sentence reads:
       And lest the intention of the law should be frustrated by the justices requiring
       bail to a greater amount than the nature of the case demands, it is expressly
       declared by statute [Bill of Rights, 1689] 1 W. & M. st. 2, c. 1. that excessive
       bail ought not to be required: though what bail shall be called excessive, must
       be left to the courts, on considering the circumstances of the case, to deter-
       mine.
   4 BLACKSTONE, CoamcNTARiEs 294 (1st Am. ed. 1772).
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                            D. The Role of George Mason
          The man who wrote both the Declaration of Rights in 1776 and
    the amendments proposed to Congress by the Virginia ratification
    convention in 1788 was George Mason, one of the unsung heroes of
    the revolutionary era."' As the evidence is persuasive that the exces-
    sive bail language of the Declaration was carried forward into the Bill
    of Rights without further thought or analysis after it left Mason's
    hands, his role is one of critical importance in understanding the
    original objective of these few words.
          There was little about Mason which would have foretold his
    creative genius in fashioning our constitutional law. Although edu-
    cated in the library of a lawyer uncle which included a generous share
    of law books and although he served for many years as a lay justice
    for Fairfax County, he had no technical training or experience as a
    lawyer. He was preoccupied with raising nine young children after
    the death of his wife and with managing a 5,000-acre plantation just
    down river from Mount Vernon with 500 slaves who not only produced
    and shipped out tobacco and wheat but also made the plantation almost
    entirely self-sufficient in such matters as food, liquor, lumber, clothing
    and shoes. His correspondence was mostly about his immediate
    concerns: running the plantation, requisitioning supplies and powder
    for the militia, promoting the development of western land, collecting
    his debts or getting his debtors thrown in jail, riding to hounds or
    hunting deer in his private game preserve with his neighbor, George
    Washington, and protecting the Potomac from marauding robbers or
    scavenging British naval parties. Throughout his life he shunned
    public office, and only the most compelling circumstances could dislodge
    him from these local, family, and plantation responsibilities. The
    Virginia Convention of June, 1776, was such a circumstance, and it
    catapulted him into the role of chief architect of fundamental American
    liberties.
          Two years before, in 1774, Mason had drafted the Fairfax Re-
    solves,"" a protest document whose influence can be seen in the
    Declaration and Resolves of the First Continental Congress later that
    year."' At that time, however, Mason's role was not that of rebel but
        116 See 1 ROWLAND, LiFE- OF GEORGE MAsoN 234-50 (1892). A reproduction of
    Mason's draft is in id. at 240. For the material on Mason I have also drawn upon
    HiLL, GEORGE MASON, CONSTITUTIONALIST (1938) and RUTLAD 30-40.
        116 HIL, op. cit. supra note 115, at 112-16.
          " 7 The draft of the Resolves, from a manuscript in Mason's handwriting, are
    printed in 1 RowI.AND, op. cit. supra note 115, at 418-27.
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  of loyal British subject,"" importuning and pleading in the great tradi-
  tion which before had produced such monuments as Magna Carta, the
  Petition of Right delivered to Charles I and the English Bill of Rights
  of 1688. But when the 1776 Virginia convention met, the die for
  revolution had been cast-the Declaration of Independence was only
  four weeks away and the task was to form a new government for the
  Commonwealth. Mason himself noted that his draft Declaration of
  Rights was the first document of its kind in American history."' Nor
  had it any counterpart in England, whose great charters of liberty
  were either statutes like the Habeas Corpus Act with "no noble lan-
  guage, just down-to-earth regulations . . ." 0 or enactments like
  Magna Carta and the Bill of Rights, in which specific concessions were
  obtained from the Crown. Indeed, the form of the English Bill of
  Rights bears a striking resemblance to the colonial protest documents
  of 1774, first spelling out grievances and then reaching for solutions.
  Mason's outlook in 1776, however, was entirely prospective. There
  was no certain form of future government, no body of existing law
  and precedent whose incorporation could be assumed, and he described
  as his objective the creation of a "new government upon a broad
  foundation" and the provision of "the most effectual securities for the
  essential rights of human nature, both in civil and religious liberty." 1
  The philosophy of Locke and Sidney, some of the finest creations of the
  600 year struggle for liberty in England, a strong conviction of the
   importance of man, and an intense but practical idealism were some of
  the ingredients that filtered through his mind into the Declaration. It
   is difficult today, when much of what he wrote has become trite with
  familiarity, to appreciate the extent of Mason's creative innovation.
   This is because his selection and phrasing was borrowed by Jefferson
   for the Declaration of Independence, because the Virginia Declaration
  became the model for most subsequent state constitutions, and because
   many of the clauses found their way into the Bill of Rights. But any-
   one who puts himself into its historical context in reading Mason's
   Declaration is likely to agree with Jefferson's estimate of Mason as
   "a man of the first order of wisdom among those who acted on the
   theatre of the revolution, of expansive mind, profound judgment,
       118 "8. Resolved, That it is our greatest wish and inclination, as well as interest,
  to continue our connexion with, and dependence upon, the British government ....
  From the Fairfax Resolves, id. at 421.
       19DHe may have been unfamiliar with the Massachusetts Body of Liberties of
  1641, which in certain respects had a similar purpose. See HASKINS, Op. cit. supra
  note 79, at 36.
      1202 CHAFEE, DOCUMENTS ON FUNDAMENTAL HUMAN RIGHTS 13 (1963).
      121 1 ROWLAND,   op. cit. supra note 115, at 239.
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     cogent in argument, learned in the lore of our former constitution, and
     earnest for the republican change on democratic principles." M
           Why, then, in a document generally so well adapted to its purpose,
     did Mason deal with the problem of pretrial detention in so incomplete
     and ambiguous a fashion? In every other operative clause of the
     Declaration, for example, habeas corpus, jury trial, confrontation,
     venue, self-incrimination, general searches, the prohibition against
     governmental action is clearly stated. The defect in his treatment of
     bail seems most likely to have arisen from Mason's failure to appreciate
     what I have stressed above: the tripartite nature of the English
     protection against abusive pretrial detention, involving procedure and
     the right to bail as well as control of the judicial abuse of excessive
     bail. This was lawyer's law, and whereas Mason was certainly
     familiar with the ringing language of the English Bill of Rights, the
     underlying fundamental bail law was buried in technical jargon. Mason
     himself recognized his limitations in this respect. When four years later
     he was appointed to serve on the committee for the revision of Virginia
     law, he excused himself "as, being no lawyer, he felt himself unqualified
     for the work." 123
          Mason's mistake, if such it was, was thereafter carried forward
     with so little discussion that the latent ambiguity of the clause was
     never noticed. The only reference in the record of congressional
     debate on the Bill of Rights to the excessive bail clause is the following
     statement in the House, set out in its entirety:
                     Mr. Livermore.-The clause seems to express a great
                deal of humanity, on which account I have no objection to
                it; but as it seems to have no meaning in it, I do not think it
                necessary. What is meant by the terms excessive bail?
                Who are to be the judges? 4

     The speaker then made similarly brief objections to the vagueness of
     the other clauses of the amendment. This observation could have pro-
     voked the kind of debate which would have illuminated the entire
     question, but instead the record shows only that the amendment was
     then "agreed to by a considerable majority."
          Mason's drafting error might also have been corrected if note
     had been taken of a curious occurrence in the Continental Congress in
     1787. The Northwest Ordinance adopted in that year, as noted
           122 Jefferson, Autobiography, in 1 WRITINGS oF THOMAS JEFFERSON 1, 56 (Ford
     ed. 1892).
           12
                3 Id. at 59.
           124 1 ANNALS OF CONG. 754   (1789-91).
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   above, included a guarantee (to "forever remain unaltered unless by
   common consent") whose language provides an interesting contrast
   to the eighth amendment:
              Article the Second .      .   .    . all persons shall be bailable,
        unless for capital offences, where the proof shall be evident,
        or the presumption great; all fines shall be moderate; and no
        cruel or unusual punishments shall be inflicted ....   125

   The first clause is taken almost verbatim from the Pennsylvania law
   of 1682, and the rest is adapted from the second part of paragraph 10
   of the English Bill of Rights but omits the opening language of that
   paragraph which proscribes excessive bail. The omission, then, must
   have been deliberate. This deduction is reinforced by the fact that
   the draftsman of the Ordinance was Nathan Dane of Massachusetts,
   who stated that he was guided "mainly, from the laws of Massachu-
   setts." ' The Massachusetts constitution of 1780, in turn, had incor-
   porated verbatim the excessive bail clause of Mason's Virginia Declara-
   tion. Unlike Mason, Dane was a well trained and experienced
   lawyer. 2    One can only speculate that, not without reason, he may
   have regarded the excessive bail clause as unnecessary surplusage be-
   cause the requirement that "all persons be bailable" included by neces-
   sary implication the requirement that bail be reasonable. But Dane
   was not a member of the first Congress, and there was no one present
   to correct Mason's apparent assumption that the excessive bail clause
   alone was sufficient to epitomize the protections evolved from the long
   struggle against pretrial imprisonment.
         Two other factors give some support for my conclusion that the
   excessive bail clause was meant to provide a constitutional right to
   bail and that the inadequacy of the form adopted for this purpose was
   the result of inadvertence. The first is that bail was apparently not a
   point of dispute between the colonies and England immediately before
   the Revolution. It is not mentioned in the 1774 protest documents
   such as the Fairfax Resolves, the Declaration and Resolves of the First
   Continental Congress, or the Address to the People of Quebec. This
   was doubtless in part due to the development of separate American
   law on the subject and in part to an unchallenged assumption that the
        125 An Ordinance for the government of the Territory of the United States
   North-West
        12        of the River Ohio, July 13, 1787, art. ii.
           6 RUTNLA    104.
         = Dane graduated from Harvard College "with high honors," read law in the
   office of a judge in Salem, and his legal work, which included an eight volume "com-
   prehensive compendium" of American law, "displayed not only his great legal attain-
   ments but a meticulous attention to detail and a methodical labor which was
   characteristic of everything he undertook." His support of Harvard Law School
   resulted in the Dane Professorship at that school. Knott, Nathan Dane, in 5 Dic-
   TiOxARY oF AmEIcAN BIOGRAPHY 63-64 (1930).
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    right against pretrial imprisonment existed. Chafee has noted a similar
    lack of contemporaneous discussion about habeas corpus, where the
    "importance of the writ itself is virtually taken for granted." 128 Thus
    many early state constitutions failed to mention habeas corpus at all.
    "It had been so long and solidly established in every colony that asser-
    tion was probably considered unnecessary. Contrast the urgency of
    including freedom of religion and speech and several other liberties
    which had been often impaired in colonial history." "9 Not unnaturally
    attention was concentrated on issues of immediate controversy; bail
    got carried along on a kind of automatic historical reflex.
          Second, to construe the eighth amendment as not providing a con-
    stitutional right to bail secure against legislative abridgment flies in
    the face of everything we know about the purpose of the Bill of Rights
    as a whole. When Madison first proposed the Bill of Rights in
    Congress he stressed the inadequacy of the English approach in its
    declaration of rights:
           In the declaration of rights which that country has estab-
           lished, the truth is, they have gone no farther than to raise
           a barrier against the power of the Crown; the power of the
           legislature is left altogether indefinite ...
                But although . . . it may not be thought necessary to
           provide limits for the legislative power in that country, yet
           a different opinion prevails in the United States. The people
           of many states have thought it necessary to raise barriers
           against power in all forms and departments of Govern-
           ment ....     130

    He then went on to stress that protection against abuse
           must be levelled against the Legislative [branch], for it is the
           most powerful, and most likely to be abused, because it is
           under the least control. Hence, so far as a declaration of
           rights can tend to prevent the exercise of undue power, it
           cannot be doubted but such declaration is proper.' 3 '
    Ten years later, in writing about freedom of the press and the Sedition
    Act, Madison reiterated that whereas the English Bill of Rights was
    "not reared against the Parliament, but against the royal perogative,
           in the United States the case is altogether different" in that pro-
                                                       13
    tection against legislative abuse is also secured.
          128 1 CHAFEE, op. cit. supra note 20, at 53.
         12 9 Id. at 54.
         130 1 ANNALS OF CONG. 436 (1789-91).
         131 Id. at 437.
         132 6 WRITINGS OF JAIIES MADIsoN 386-87 (Hunt ed. 1906). Compare Bridges
    v. California, 314 U.S. 252, 263-68 (1941), rejecting an argument drawn from "deeply
    rooted" principles of the common law on the ground that this is not the standard to
    be applied under the first amendment and relying upon Madison's statements.
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         In conclusion, no direct evidence has been found as to the intent
   behind the ambiguous language of the excessive bail clause, but all the
   circumstances surrounding its adoption in the first Congress argue
   against giving it a narrow reading. These include the critical place
   of protests against abusive pretrial detention in the evolution of
   English liberty, the nondiscretionary character of contemporaneous
   English law, the colonial experience with liberalizing bail law, the
   contemporaneous legislation during the period of the Confederation,
   the circumstances surrounding the Virginia Declaration of Rights,
   Mason's expressed intent to provide "effectual securities for .
   essential rights," and the objective through the Bill of Rights to
   provide protection against legislative abuse. What the precise scope
   and substance of this right to bail should be under modern conditions
   neither can nor should be deduced from history. But however such
   detail may be resolved, the only end which seems consistent with these
   historical antecedents is that the clause was intended to afford protection
   against pretrial imprisonment in a broad category of cases.

             II. THE APPLICATION OF THE EIGHTH AMENDMENT
             A. An HistoricalCaveat: Bail History and the Poor
        When we turn to the nature of the protection afforded by a right
   to bail and its application to the high proportion of indigent defendants
   in modern society, the potential usefulness of historical evidence sharply
   diminishes. We have already noted that under colonial practice in at
   least a few courts most defendants appeared to be released, but there
   are instances in which the defendants were unable to obtain release. In
   one case heard by Judge Pynchon in Massachusetts in July, 1674,
   James Browne and Benjamin Allyn were charged with burglary and
   theft:
              I required Both of them to become Bound in .201 Bond
         a piece with .2. sufficient suertys for theire appearance at Next
         County Court at Springfield in September next as also for
         theire good Behaviour in the meane tyme. [Accordingly]
         Benjamin Allyn in Twenty Pounds and Israell Dewey as
         suerty in like sum . . . Doe acknowledge themselves Bound
         . . . and in case of default therein to forfeite the said sums
         ...     . James Browne finding noe Suertys was committed
         • . . till the Cort or till he shall find suerty . . .13
        133 COLONIAL JUsTICE IN WESTERN MASSACHUSETTS, op. cit. supra note 110, at 280-
   81. This case was tried and the defendants found guilty on September 29, and in a dis-
   position typical of the cases I have found they were required to pay treble damages
   for the liquor stolen, to pay various costs, and "to be Branded in their Forheades
   for their Burglary with the letter B .   . ." Id. at 281. For another salty instance
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    It is impossible to determine whether, in the absence of professional
    bondsmen, the courts placed any restrictions upon allowing defendants
    to sign their own bonds or upon whom they would accept as sureties.
    Indeed, it is important to recall that few persons in the colonies would
    have been concerned or have even thought about the welfare of poor
    classes from which so large a proportion of our defendant population
    is drawn. In 1777 the Continental Congress, in providing in article IV
    of the Articles of Confederation for "free ingress and regress" of citi-
    zens among states, explicitly excluded from its operation those citizens
    who were "paupers." In 1788, a year before Congress was to consider
    what was to become the eighth amendment, Massachusetts enacted legis-
    lation which, supplemented in 1794 and 1796, provided for compulsory
    work in houses of correction for, inter alia, "all rogues, vagabonds and
    idle persons" and "common railers or brawlers, such as neglect their
    callings or employment, mispend what they earn, and do not provide for
    themselves for the support of their families . . .1";
                                                        ..4 for the expulsion
    of Negroes 135 and of nonresident "vagrant, strolling and poor people"
    who "intrude and shelter themselves . . . to the injury of the rightful
    inhabitants"; 138 for binding out to work for a year at a time all persons
            married or unmarried, upwards of twenty-one years of age,
            as are able of body, but have no visible means of support, who
            live idly, and use and exercise no ordinary or daily lawful
            trade or business to get their living by; 137

    and for the removal of paupers to their lawful settlements. 8' This
    legislation was widely copied by other states in the eighteenth and early
    nineteenth centuries." 3 As late as 1837 the United States Supreme
    Court noted that it is "as competent and as necessary for a State to
    provide precautionary measures against the moral pestilence of paupers,
    vagabonds, and possibly convicts, as it is to guard against [a] physical

    of life among the Puritans see id. at 389-91. As for the disposition of sexual offenders
    see Chaffe's introduction to REcoRDs OF THE SUFFOLK COUNTY COUIRT, op. cit. supra
    note 110, at lxxxi: "It must have been as good as a circus parade to the hard-working
    people to see women stripped to the waist and whipped at a cart's tail through the
    streets."
          134 Act of March 26, 1788, § 2, 1 LAWS OF MASS. 1780-1807 411 (1807).
          135 Act of March 26, 1788, § 6, 1 LAWS OF MAss. 1780-1807 413 (1807).

          13 6 Act of June 17, 1796, 2 PERErUAL LAWS OF MASS. 1780-1800 361 (1801).
          137 Act of Feb. 26, 1794, § 6, 2 LAWS OF MASS. 1780-1807 619, 622 (1807).
          .38 Act of Feb. 26, 1794, § 10, 2 LAWS OF MASS. 1780-1807 623-26 (1807).
          139 Riesenfeld, Law-making and Legislative Precedentin American Legal History,
    33 MiNN. L. REv. 103, 105 n.9 (1949).
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  pestilence ....        140 That historical manifestation of this attitude
                         ",,


  most directly relevant to pretrial detention is imprisonment for debt.
  In 1830, for example, it was estimated that in the northern and eastern
  states three times as many persons were imprisoned for debt as were
  imprisoned for crime. The number reached 50,000 a year including
  7,000 in Pennsylvania, which ostensibly had abolished imprisonment
  for debt in 1776,' and of these, thirty Philadelphians were jailed for
  debts of less than one dollar.'
        A similar attitude toward the poor prevailed in England as
  reflected in the culmination of centuries of repressive legislation which
  sought, inter alia, to keep the price of labor down by harsh vagrancy
  legislation 143 and centuries of "poor" laws whose operation in the
  eighteenth century was described by Sidney and Beatrice Webb as
  "callous inhumanity," "brutal demoralisation" and "heedless cruelty"
  with inadequate "provision for even the most innocent and deserving"
  of the poor and an "almost complete lack of any intelligent treatment
  of the infants and children, the sick and those of unsound mind." 144
  One recoils at the wealth of documentation provided for this statement.
  For example, in 1815 eleven London parishes, in order to be spared
  the expense of support, took 2,026 children of poor parents from their
  families and shipped them out to manufacturers in the north of
  England. 45
       This was the context in which the law of bail developed. It is
  not surprising that a society unconcerned about the callous cruelty of
  the poor laws or the imprisonment of civil debtors also did not become
  excited about economic discrimination against alleged criminals. What
  is surprising is that it is taking so long for the changed attitude towards
  the poor in other contexts to percolate down to the bail system. Im-
  prisonment for debt was substantially controlled in the nineteenth
      140 City of New York v. Miln, 36 U.S. (11 Pet.) 102, 142 (1837). This language
  was finally repudiated in Edwards v. California, 314 U.S. 160, 177 (1941), but not
  before it had been restated in numerous dicta, e.g., Passenger Cases, 48 U.S. (7 How.)
  282, 425 (1849).
       141 PA. CONST. § 28 (1776); PA. CoNsT. art. 9, § 16 (1790).        See RUTLAND
  47. Compare Max Radin's sarcastic observation about early state constitutional
  provisions which "undertake to wipe out imprisonment for debt by a single sentence."
  Radin, Debt, in 5 ENcYc. Soc. ScL. 32, 37-38 (1931). He reports that the practice
  continued into the 20th century. The first substantial reform legislation in England
  was The Debtors Act, 1869, 32 & 33 Vict. c. 62.
      142 These figures are from the NORTH AMERIcAN Rvmnw for April 1831, quoted in
  Ford, Imprisonm ent for Debt, 25 MicH. L. REv. 24, 29 (1926).
      143 For a history of this legislation, which stemmed from the breakup of feudalism
  and the economic chaos occasioned by the black death in the middle of the 14th
  century, see Foote, Vagrancy-type Law and Its Administration, 104 U. PA. L. REv.
  603, 615-16 (1956).
      144 WEBB & WEBB, ENGLISH LocAL GOVERNMENT: ENGLISH POOR LAW HISTORY
  424 (1927).
      145 Id. at 203.
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    century, the Social Security Act enacted in 1933, and restrictions on
    interstate travel of paupers outlawed in 1941.146 But only in recent
    years has the bail problem as it affects indigent defendants in the pretrial
    period come to the surface, and only in very recent years has it arisen
    in the courts.

                      B. "'Excessive Bail" in Indigent Cases
         The threshold of the problem for paupers that courts must decide
    is the constitutional standard which determines whether bail is exces-
    sive. Relevant case history is scanty. The first significant decision
    involved one Lawrence, who was taken into custody in 1835 after he
    had fired two loaded pistols at President Jackson in the capitol
    rotunda but missed. Lawrence was brought before Chief Judge
    Cranch, who "supposed bail in $1,000 would be sufficient, as it was
    not a penitentiary offense, there being no actual battery, and as he did
    not appear to have any property." 14' The district attorney objected
    that the defendant's friends might bail him out so he could try
    again.
               The chief judge then said that there was no evidence
          before him to induce a suspicion that any other person was
          concerned in the act; that the constitution forbade him to
          require excessive bail; and that to require larger bail than
          the prisoner could give would be to require excessive bail,
          and to deny bail in a case clearly bailable by law ....
          That the discretion of the magistrate in taking bail in a
          criminal case, is to be guided by the compound consideration
          of the ability of the prisoner to give bail, and the atrocity of
          the offence. That as the prisoner had some reputable friends
          who might be disposed to bail him, he would require bail in
          the sum of $1,500. The sum, if the ability of the prisoner
          only were to be considered, is, probably, too large; but if
          the atrocity of the offence alone were considered, might seem
          too small .... 14

    The opinion is ambiguous as to whether the 1,500 dollars was designed
    to make it possible or impossible for Lawrence's "reputable friends" to
    bail him; in either event the bail issue was soon mooted when
    Lawrence was committed on the ground of insanity.
         But at least the court recognized the impossible dilemma posed
    by the eighth amendment and its opinion might have launched further
        146 See Edwards v. California, 314 U.S. 160, 185 (1941) (concurring opinion).
        147United States v. Lawrence, 26 Fed. Cas. 887, 888 (No. 15577) (C.C.D.C.
    1835).
        148 Id. at 887-89.
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   analysis of the problem. Instead, however, the courts retreated to
   double-talk and silence. Only a handful of cases since Lawrence even
   reach the question of the defendant's financial inability to raise the
   amount demanded. Few have seemed to follow the Lawrence dic-
   tum; 149 others have ignored the matter,"'0 flatly stated that the in-
   ability of the accused to make bail is not grounds for relief,15 1 or given
   the issue that summary treatment reserved for frivolous questions-or
   very difficult problems.' 52 Still other courts have subordinated the
   defendant's ability to some objective standard such as the suitability
   of the amount as proportionate to the offense charged 53 or the
   ability of "the ordinary citizen in like circumstances." 15" The
   circular reasoning characteristic of the encyclopedists is in this instance
   an unfortunate accurate reflection of the barren state of the case law:
               Bail must not be in a prohibitory amount, more than
         the accused can reasonably be expected under the circum-
         stances to give, for if so it is substantially a denial of bail
         within the constitutional provision. However, a mere in-
         ability to procure bail in a certain amount does not of itself
         make such amount excessive ....       155
        149 United States v. Brawner, 7 Fed. 86 (W.D. Tenn. 1881) ($5,000 bail reduced
   to $2,500; defendant had testified that he had only land worth $75 and his father owned
   240 acres worth $8-$10 per acre) ; Ex parte Castillo, 102 Tex. Crim. 52, 277 S.W.
   126 (1925) ($3,000 bail for laboring Mexican charged with prohibition offense reduced
   to the $500 defendant said his friends could put up). However, in both these cases
   it is doubtful if the defendant's limited ability was the determinative factor. In
   Brawzner the court found that "it is a rule of our courts in this district to require
   $2,000 in cases like this. . .   ."   7 Fed. at 89, while in Castillo $500 may well have
   been closer to the local norm for prohibition offenses.
        See also Harrison v. Stone, 113 Fla. 471, 152 So. 19 (1934) (court looked at the
   limited assets of laborer in fixing $1,000 bail in homicide case where evidence was
   inconclusive) ; State v. Alvarez, 182 La. 50, 161 So. 17 (1935) (implication that
   ability of accused was an important consideration in reducing $25,000 to $2,500 where
   there was "nothing in the evidence to show that he is in a position to furnish a bond in
   excess of that amount," id. at 54, 161 So. at 18).
        150 See, e.g., United States v. Dioguardi, 237 F.2d 57 (2d Cir. 1956); In re
   Morehead, 107 Cal. App. 2d 346, 237 P.2d 335 (1951) (court did not even include
   resources of defendant as a factor to be considered in setting bail).
        151 See, e.g., United States v. Rumrich, 180 F.2d 575, 576 (2d Cir. 1950) (per
   curiam) ("A person arrested upon a criminal charge, who cannot give bail, has no
   recourse but to move for trial.") ; People ex rel. Fraser v. Britt, 289 N.Y. 614, 43
   N.E.2d 836 (1942) (mem.) ; see Delaney v. Shobe, 218 Ore. 626, 346 P.2d 126 (1959)
    (not sufficient as sole ground for reduction).
        152 See, e.g., Ex parte Duncan, 54 Cal. 75 (1879).
         .53 Ex parte Malley, 50 Nev. 248, 256 Pac. 512 (1927) ($100,000 bail for alleged
   embezzler of $500,000 affirmed, for even if it were true that defendant could afford
   only $25,000, this is not determinative and it must appear that bail is disproportionate
   to the offense charged).
        '54 Mendenhall v. Sweat, 117 Fla. 659, 158 So. 280 (1934).           As the court
   notes that the accused in the Mendenhall case was insolvent, id. at 662, 158 So. at
   281, of what relevance to him could this standard be unless the court means by "like
   circumstances" an ordinary insolvent citizen?
        155 6 C.J., Bail § 222, at 989 (1916).  (Footnotes omitted.)
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   As to actual practice bail studies have abundantly proved that the
   Lawrence dictum is largely ignored. In the New York bail study in
   no observed case did a magistrate ask about the defendant's financial
   ability, and in two-thirds of the cases observed in the Philadelphia
   study no questions were asked about any of the factors said to be
   relevant to setting bail."" Indeed, the Attorney General's Poverty
   Committee recently noted the characteristic failure of American bail
   practice to establish any procedure "to provide the bail-setting
   authority with relevant factual data indispensable to sound bail
   decisions." '
         The only other pre-1960 case worth special mention is Stack v.
   Boyle,' although not directly on point since the twelve Smith Act
   conspiracy defendants did not allege that they were indigent. Rather
   each objected that bail had been set in the uniform amount of 50,000
   dollars for the illegitimate purpose of assuring that they would remain in
   jail pending trial. Apparently envisaging an individualized procedure,
   the Court sent the cases back "so that a hearing may be held for the
   purpose of fixing reasonable bail for each petitioner." '5' The Supreme
   Court's opinion gave constitutional sanction under the eighth amend-
   ment to the Federal Rule of Criminal Procedure 46(c) standard that
   the amount is to be such as to "insure the presence of the defendant"
   and that anything more, presumably that exacted for any other purpose,
   is excessive." 0 But neither the Court's opinion nor that of Mr. Justice
   Jackson used language calculated to advance the position of indigents.

         15 6 New York Bail Study 709; see PhiladelphiaBail Study 1038 & n.32.
         15"AT'y GEN. REP. 62.
         158 342 U.S. 1 (1951).
         1-9 Id. at 7.
         160 This is the usual rule in state courts as well. E.g., Gusick v. Boies, 72 Ariz.
   233, 233 P.2d 446 (1951). Unusually high bail cannot be justified on the grounds
   that the defendant is vile and reprehensible, Gusick v. Boies, 72 Ariz. 309, 234 P.2d
   430 (1951); or to impose punishment, Johnson v. State, 30 Ala. App. 593, 10 So. 2d
   298 (1942); or because public opinion is aroused against the defendants, It; re Steg-
   man, 112 N.J. Eq. 72, 163 AtI. 422 (1932) ; or because the defendant will not cooperate
   with the district attorney, People ex rel. Ruberstein v. Warden, 279 App. Div. 47,
   107 N.Y.S.2d 948 (1951); or to prevent the prisoner from being released, People
   ex rel. Sammons v. Snow, 340 Ill. 464, 173 N.E. 8 (1930) ($50,000 bail set for
   vagrancy and trial judge stated, "If I thought he would get out on that I would
   make it more," id. at 469, 173 N.E. at 9). See generally Annot., 72 A.L.R. 801
    (1931).
         Of course the distinction between the justified motive of insuring appearance
   and unjustified motives such as those enumerated above in practice amounts to little.
   The factor of insuring appearance is so vague and the discretion given the trial judge
   accordingly so broad, see notes 150-55 supra, that this issue is likely to come up only
   if the judge lets the cat out of the bag by explicitly verbalizing his improper motive.
   It should be recalled that the correlation between insuring appearance at trial and
   the amount of bail set is entirely unknown, and such correlation as exists presumably
   varies according to whether the money at stake belongs to the defendant, or his
   relatives, or (as is usually the case) a bondsman or bonding company.
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   The Court stated that the base standard to be applied is the amount
   "usually fixed for serious charges of crime"; if any greater amount is
   required "that is a matter to which evidence should be directed in a
   hearing so that the constitutional rights of each petitioner may be
   preserved." 161 On the other hand Mr. Justice Jackson noted that if
   the unusually high bail was set merely to keep the defendants in jail,
   "it is contrary to the whole policy and philosophy of bail." 162 He
   then added: "This is not to say that every defendant is entitled to
   such bail as he can provide, but he is entitled to an opportunity to
   make it in a reasonable amount." 103
        There seems to be implied dictum in these words that bail set in
   the average amount is reasonable and that individualization is required
   only for amounts greater than the average. This also seems to be the
   most plausible explanation of the earlier case law. The Court does
   not explicitly go as far as a very early New Hampshire case, which
   quoted with apparent approval Hawkins' statement that bail "ought
   never to be less than 401 for a capital crime, but may be as much higher"
   as the justice in his discretion sees fit.'     Yet the effect of Stack v.
   Boyle is to leave courts free to establish such minimum scales, and
   the evidence is overwhelming that this is in fact what has been done."6 5
        The bail "usually fixed" for serious crimes, however, is in an
   amount which the great majority of defendants cannot make. Thus for
   robbery bail of 2,500 dollars at least is probably the norm,16' although
   available studies show that the following proportions of defendants
   could not make bail in the amounts shown:
           1 342 U.S. at 6.
       162 342 U.S. at 10 (Jackson, J., concurring).
       163 Ibid.
       164 Evans v. Foster, 1 N.H. 374   (1819) (alternative holding) (quoting HAWXINS
   PLEAS OF THE CROWN that bail "ought never to be less than 40 1 for a capital crime,
   but may be as much higher as the justices in discretion shall think fit to require upon
   consideration of the ability and quality of the prisoner and the nature of the offence."
   "The property and character of the respondent ought perhaps, in some instances to
   affect the amount of the recognizance," but bail ought to be enough to ensure appear-
   ance. (Civil action against magistrate for causing plaintiff's incarceration by demand-
   ing excessive bail which plaintiff could not make. Nonsuit affirmed.)).
        10 5 Mr. Justice Harlan does not tell us how he got the data used in Noto v. United
   States, 76 Sup. Ct. 255 (Harlan, Circuit Justice, 1955), except for his reference to
   "the record in the present case [and] the research of my Law Clerk," id. at 258 n.4.
   In any event, following precisely the steps outlined in the text, he found that bail
   for similar communist cases averaged $9000, that there were no special aggravating
   circumstances in Noto's case, and that accordingly $30,000 bail would be reduced to
   $10,000. For another application of the averaging rule see United States v. Weiss,
   233 F.2d 463, 466 (7th Cir. 1956).
         166 In the list of bail amounts in Philadelphia, "Robbery . . . (b) Knife or Gun"
   is listed as "$2500 normal." PhiladelphiaBail Study 12. In the District of Colum-
   bia, a similar list for "station house bail" includes the figure of $3000 for attempted
   robbery.    Faam & WALD 19.
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           (a) $1,501-$2,500, 60 percent of a sample of 286 federal
           defendants in four districts; 167
           (b) $501-$1,500, over half of the accused, in a three year
           study of the Southern District in New York; 168
           (c) $1,000 or more, 68 percent of a sample of Philadelphia
           state court defendants; "
            (d) $2,500, 63 percent of New York City state felony de-
           fendants.'-70

    Those high sounding platitudes in the opinions in Stack v. Boyle '..
    certainly take on a hollow tone when it is realized that the case ap-
    parently sanctions the very bail-setting law which has brought about
    such results.
         What is most perplexing is why observers of the bail system lost
    sight of this obvious and devastating discrimination, seen so clearly
    early in our history. Soon after Chief Judge Cranch decided the
    Lawrence case, one of the early students of the sociology of law made
    the same point even more forcefully. Discussing some of the anomalies
    he had found in America, De Toqueville wrote:
                [N]o man can entirely shake off the influence of the
           past; and the settlers, intentionally or not, mingled habits
           and notions derived from their education and the traditions
           of their country with those habits and notions which were
           exclusively their own ....
                I shall quote a single example to illustrate my meaning.
           The civil and criminal procedure of the Americans has only
           two means of action,-committal or bail. The first act of
           the magistrate is to exact security from the defendant, or, in
           case of refusal, to incarcerate him ....
                It is evident that such a legislation is hostile to the poor,
           and favorable only to the rich. The poor man has not always
           a security to produce, even in a civil case; and if he is obliged
           to wait for justice in prison, he is speedily reduced to dis-
           tress. .       .     .   Nothing can be more aristocratic than this
           system of legislation.          Yet in America, it is the poor who
          167 Figures compiled from Arr'y GEN. REP., Table iv at 135.
          168   Id. at 66-67.
          169 PhiladelphiaBail Study 1032.
        170 New York Bail Study 707.
        171 For example, the Court characterized bail as the "traditional right to freedom"
    without which "the presumption of innocence, secured only after centuries of struggle,
    would lose its meaning." Stack v. Boyle, 342 U.S. 1, 4 (1951). "The practice of
    admission to bail, as it has evolved in Anglo-American law, is not a device for
    keeping persons in jail upon mere accusation until it is found convenient to give
    them a trial. On the contrary, the spirit of the procedure is to enable them to stay
    out of jail until a trial has found them guilty." Id. at 7-8 (concurring opinion).
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         make the law, and they usually reserve the greatest ad-
         vantages of society to themselves. The explanation of the
         phenomenon is to be found in England; the laws of which
         I speak are English, and the Americans have retained them,
         although repugnant to the general tenor of their legislation
         and the mass of their ideas.11 2

   But later observers of the bail system, perhaps on the philosophy that
   what is ordained 173 and inevitable 174 is not worth troubling about,
   have paid little attention to the problem. There are only scattered
   references in the writings on bail of Arthur Beeley, 175 Raymond
   Moley, 17 ' and Wayne Morse 177 to the impact of the system upon the
   poor. Even such an admirable precursor of modern empirical
   sociological research as the Cleveland Crime Survey of 1920-1922
   directed by Dean Pound and Justice Frankfurter, was inexplicably
   silent on the social efficacy of the bail system as measured by the pro-
   portion of defendants who obtained pretrial freedom. 7 1
         One of the most disturbing manifestations of this blindness has
   been the preoccupation of bail reformers with attempts to clean up
   the graft and abuse traditionally associated with bail bondsmen. The
   two most common targets have been the practice whereby bondsmen
   reduce their cost of doing business by avoiding forfeiture in most
   cases of default and the fraud perpetrated against the state by bonds-
        172 1 DE TOQUEVILLE, DEMOCRACY IN AMERICA 55-56 (Bradley ed. 1963). (Foot-
   note omitted.) This edition is a revised translation; the book was first published in
   France in 1835, and an English translation appeared immediately thereafter.
        173 "The Lord maketh poor, and maketh rich: he bringeth low, and lifteth up."
   1 Samuel 2:7.
        174 "The poor and strangers shall be always with us."        Longsdorf Is Bail a
   Rich Man's Privilege?, 7 F.R.D. 309, 311 (1948) ; cf. Matthew 26:11.
         75
        1 BEELEY, THE BAIL SYSTEM IN CHICAGO 59-153 (1927).               While primarily
   concerned with the abuse of straw bail, Beeley examined 170 untried, detained de-
   fendants and, on the basis of untested assumptions about what made for reliability,
   concluded that "at least 65" were "dependable" and could have been released without
   substantial risk that they would abscond. Id. at 159.
        170 Moley, Bail, in 2 ENcYc. Soc. Sci. 386, 387 (1932).
        177 Morse & Beattie, Survey of the Administration of Criminal Justice in Oregon,
   11 ORE. L. tE-v. (Supp. 1932). This study's statistics demonstrated that at each
   stage of the criminal proceeding-after arrest, after bind-over and after indictment-
   whether the defendant had bail or jail status had a significant relationship with the
   disposition of the case in the next stage, with those in jail receiving a substantially
   less favorable disposition. Id. at 99, 101, 106, 116-17. This finding, which appears
   to have been "lost" and which is not stressed or analyzed in the study itself, antici-
   pated by some twenty-five years the statistical studies of the last decade. See ::- te
   2 supra.
        178 CRIMINAL JUSTICE IN CLEVELAND (Pound & Frankfurter eds. 1922).            Dis-
   cussion of the bail system is at 154-55, 184-87, 212-13, 290-92, and 313-14. While the
   study does make reference to the "illogical variability in amounts [of bail] demanded,"
   id. at 154, and to "looking-glass justice" in jailing a witness in a robbery case while
   releasing the accused robber on bond, id. at 314, its emphasis is all on abuses arising
   out of bailed cases. For a similar emphasis, see Moley, Bail Bonds, in THE MISSOURI
   CRIME SURVEY 189    (1926).
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    men who put up fictitious collateral-what is known in the trade as
    straw bail. No doubt one of our social goals is to make bondsmen
    honest and responsible. But the fact that our bail system works at all
    even for a minority of defendants may be due in considerable measure
    to the prevalance of such loopholes and loose enforcement since there
    is almost inevitably a correlation between the risk and expense of the
    bondsman's undertaking and the proportion of defendants who achieve
    pretrial liberty. If this is so, there is a certain irony in taking a
    system which is not working well to begin with and subjecting it to
    a "reform" which would leave it even less able to perform its primary
    function of getting defendants out of jail before they have been tried.
         No doubt the insulation of appellate judges from everyday ad-
    ministration of the criminal law and the fact that they "are almost
    invariably drawn from the propertied classes and share its assump-
    tions" " also have contributed to the imperceptive handling of the
    problem. Judge Learned Hand once made the sweeping assertion that
    "under our criminal procedure the accused has every advantage." 180
    This is comparable to the remarks of the justices in Stack v. Boyle
    about the importance of the liberating policy behind the bail system 'll
    at the same time that they were apparently putting their stamp of
    approval on a practice which effectively thwarts that policy. The
    most charitable explanation for such judicial inactivity is ignorance
    by judges and justices about the actual administration of the bail
    system, which of course has kept most defendants just where it will
    most advantage the prosecution: behind bars.

                      C. Facing the Constitutional Question
          How to reconcile modern concern for equal legal rights for the
    poor with historical disinterest, which until the last decade simply read
    indigents as beyond the scope of constitutional protection against pre-
    trial imprisonment, poses problems of the greatest complexity. So far,
    both the actual reform projects which have been noted above and the
    current proposals for legislative reform which will be discussed below
    have not necessitated facing the constitutional problem. But as the
    history which has been recounted indicates, the constitutional ques-
    tions cannot be ignored. The whole thrust of the excessive bail clause
         179 L. Hand, Mr. Justice Holmes at Eighty-five, in MR. JUSTIcE HoLmES 119
    (Frankfurter ed. 1931).
         -180United States v. Garsson, 291 Fed. 646, 649 (S.D.N.Y. 1923). Although
    Judge Hand did not qualify his statement, he was obviously not thinking about the
    bail system. For a devastating analysis of his comment in the immediate context
    which gave rise to it see A. M. Goldstein, The State and the Accused: Balance of
    Advantage in Criminal Procedure, 69 YALE L.J. 1149 (1960).
         181 See note 158 supra.
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   is to ensure fair access to pretrial liberty for those entitled to it by
   law. Under the construction presently given to it, the eighth amend-
   ment and its historical heritage have come full circle. Originally it was
   designed to thwart abuse of discretion and ensure pretrial protection
   for the class of defendants who were the concern of reformers in the
   seventeenth and eighteenth centuries-political opponents of the Crown.
   Now it is being used to defeat those very same rights for a group--the
   indigents-with whom the law was unconcerned in those earlier cen-
   turies but who now represent the current major interest in law reform.
         Such discrimination against the poor cannot survive in its present
   blatant form. What is not clear, however, is how the impasse will be
   broken. One alternative would be to ignore the eighth amendment
   entirely, thus relegating it to historical curiosity sharing the same
   dusty quarters as the second amendment, and instead to forge a
   partial solution upon more vague and therefore more adaptable con-
   stitutional principles derived from the fifth and fourteenth amendments.
   If such a resolution offers release only to those indigent accused who
   are "good bail risks," its effect will be to grant to the lower judiciary
   substantial discretion to grant or deny release. Such a solution carries
   with it the high risk that in actual administration much of the present
   poverty-based discriminatory practice would simply be perpetuated
   under a different label.
         The other possibility is to build upon the historical motivation and
   underlying purposes of the eighth amendment but to expand its scope
   to accommodate present humanitarian values. In its broadest applica-
   tion this second alternative would release rich and poor alike pending
   trial, denying altogether or very sharply restricting any judicial dis-
   cretion to refuse release, at the cost of greater risks to society and the
   creation of administrative problems of the first magnitude.
         To pose these hard core constitutional and administrative issues
   in their sharpest form, the next section of this article will examine an
   hypothetical case of an accused drawn from that substantial population
   of defendants who are not "good bail risks" under the present standards.
    Such a defendant is outside the operation of any of the current reform
   proposals, and it is in such a case that the United States Supreme
    Court will have to decide the fate of the eighth amendment.


                             (To Be Concluded)
